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                         Exhibit 1
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                                                                                           US012161473B1


  (12)   United States Patent                                          (10) Patent No.:                 US 12,161,473 B1
         Felix et al.                                                  (45) Date of Patent:                         Dec. 10, 2024

  (54)   ELECTROCARDIOGRAPHY PATCH                                                         A61B 5/021; A61B 5/03; A61B 5/0816;
                                                                                                A61B 5/087; A61B 5/1118; A61B
  (71)   Applicant: Bardy Diagnostics, Inc., Bellevue, WA                                 5/14532; A61B 5/14542; A61B 5/14551;
                    (US)                                                                   A61B 5/259; A61B 5/282; A61B 5/335;
                                                                                               (Continued)
  (72)   Inventors: Jason Felix, Vashon Island, WA (US);
                    Jon Mikalson Bishay, Seattle, WA                (56)                    References Cited
                    (US); Gust H. Bardy, Carnation, WA
                    (US)                                                             U.S. PATENT DOCUMENTS

  (73)   Assignee: BARDY DIAGNOSTICS, INC.,                                7,395,106 B2      7/2008 Ryu et al.
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  (*)    Notice:      Subject to any disclaimer, the term of this
                      patent is extended or adjusted under 35                          OTHER PUBLICATIONS
                      U.S.C. 154(b) by 0 days.                      Anand et al., “Design of the Multi-Sensor Monitoring in Congestive
                                                                    Heart Failure (MUSIC) Study: Prospective Trial to Assess the
  (21)   Appl. No.: 18/800,675                                      Utility of Continuous Wireless Physiologic Monitoring in Heart
                                                                    Failure”, Journal of Cardiac Failure, vol. 17, No. 1, Jan. 1, 2011, pp.
  (22)   Filed:       Aug. 12, 2024                                 11-16 (6 pages).
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                  Related U.S. Application Data
  (63)   Continuation of application No. 18/647,762, ﬁled on        Primary Examiner — George Manuel
         Apr. 26, 2024, now Pat. No. 12,089,943, which is a         (74) Attorney, Agent, or Firm — K&L Gates LLP
                          (Continued)
                                                                    (57)                    ABSTRACT
  (51)   Int. Cl.                                                   An apparatus is provided. A strip has ﬁrst and second end
         A61B 5/335             (2021.01)                           sections, and a ﬁrst face and second face. Two electrocar-
         A61B 5/00              (2006.01)                           diographic electrodes are provided on the strip with one of
                           (Continued)                              the electrocardiographic electrodes provided on the ﬁrst face
                                                                    of the ﬁrst end section of the strip and another of the
  (52)   U.S. Cl.
                                                                    electrocardiographic electrodes positioned on the ﬁrst face
         CPC ............ A61B 5/335 (2021.01); A61B 5/0006
                                                                    on the second end section of the strip. A ﬂexible circuit is
                               (2013.01); A61B 5/0022 (2013.01);
                                                                    mounted to the second face of the strip and includes a circuit
                               (Continued)                          trace electrically coupled to each of the electrocardiographic
  (58)   Field of Classiﬁcation Search                              electrodes. The apparatus includes a wireless transceiver and
         CPC .................... G16H 40/63; G16H 40/67; A61B      a battery.
                              2560/0214; A61B 2560/0443; A61B
                          5/0006; A61B 5/0022; A61B 5/02055;                        30 Claims, 8 Drawing Sheets
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               Related U.S. Application Data                                             A61B 5/14551 (2013.01); A61B 5/349
                                                                                  (2021.01); A61B 2560/0214 (2013.01); A61B
         continuation of application No. 18/353,398, ﬁled on                                              2560/0443 (2013.01)
         Jul. 17, 2023, which is a continuation of application    (58)     Field of Classiﬁcation Search
         No. 17/946,933, ﬁled on Sep. 16, 2022, now Pat. No.               CPC ..... A61B 5/349; A61B 5/6823; A61B 5/6833;
         11,723,575, which is a continuation of application                                 A61B 5/7405; A61B 5/7455; A61B
         No. 17/367,476, ﬁled on Jul. 5, 2021, now Pat. No.                                                             5/7475
         11,445,967, which is a continuation of application                See application ﬁle for complete search history.
         No. 17/119,945, ﬁled on Dec. 11, 2020, now Pat. No.
         11,051,743, which is a continuation of application       (56)                    References Cited
         No. 16/241,929, ﬁled on Jan. 7, 2019, now Pat. No.
         10,888,239, which is a continuation of application                        U.S. PATENT DOCUMENTS
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                                                                  (CJV), May 22, 2024.
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            ELECTROCARDIOGRAPHY PATCH                                   by PQRSTU waveforms that can be interpreted post-ECG
                                                                        recordation to derive heart rate and physiology. The P-wave
         PRIORITY CLAIM AND CROSS-REFERENCE                             represents atrial electrical activity. The QRSTU components
                  TO RELATED APPLICATIONS                               represent ventricular electrical activity.
                                                                      5    An ECG is a tool used by physicians to diagnose heart
      This application is a continuation of U.S. patent applica-        problems and other potential health concerns. An ECG is a
   tion Ser. No. 18/647,762, ﬁled Apr. 26, 2024, titled ELEC-           snapshot of heart function, typically recorded over 12 sec-
   TROCARDIOGRAPHY PATCH, which is a continuation of                    onds, that can help diagnose rate and regularity of heart-
   U.S. patent application Ser. No. 18/353,398, ﬁled Jul. 17,           beats, effect of drugs or cardiac devices, including pace-
   2023, titled ELECTROCARDIOGRAPHY PATCH, which 10 makers and implantable cardioverter-deﬁbrillators (ICDs),
   is a continuation of U.S. patent application Ser. No. 17/946,        and whether a patient has heart disease. ECGs are used
   933, ﬁled Sep. 16, 2022, titled ELECTROCARDIOGRA-                    in-clinic during appointments, and, as a result, are limited to
   PHY PATCH, which is a continuation of U.S. patent appli-             recording only those heart-related aspects present at the time
   cation Ser. No. 17/367,476, ﬁled Jul. 5, 2021, titled                of recording. Sporadic conditions that may not show up
   ELECTROCARDIOGRAPHY PATCH, which is a continu- 15 during a spot ECG recording require other means to diag-
   ation of U.S. patent application Ser. No. 17/119,945, ﬁled           nose them. These disorders include fainting or syncope;
   Dec. 11, 2020, titled ELECTROCARDIOGRAPHY                            rhythm disorders, such as tachyarrhythmias and bradyar-
   PATCH, which is a continuation of U.S. patent application            rhythmias; apneic episodes; and other cardiac and related
   Ser. No. 16/241,929, ﬁled Jan. 7, 2019, titled REMOTE                disorders. Thus, an ECG only provides a partial picture and
   INTERFACING ELECTROCARDIOGRAPHY PATCH, 20 can be insufficient for complete patient diagnosis of many
   which is a continuation of U.S. patent application Ser. No.          cardiac disorders.
   15/818,437, ﬁled Nov. 20, 2017, titled REMOTE INTER-                    Diagnostic efficacy can be improved, when appropriate,
   FACING ELECTROCARDIOGRAPHY PATCH, which is a                         through the use of long-term extended ECG monitoring.
   continuation of U.S. patent application Ser. No. 15/256,266,         Recording sufficient ECG and related physiology over an
   ﬁled Sep. 2, 2016, titled REMOTE INTERFACING OF 25 extended period is challenging, and often essential to
   EXTENDED WEAR ELECTROCARDIOGRAPHY AND                                enabling a physician to identify events of potential concern.
   PHYSIOLOGICAL SENSOR MONITOR, which is a con-                        A 30-day observation period is considered the “gold stan-
   tinuation of U.S. patent application Ser. No. 14/082,071,            dard” of ECG monitoring, yet achieving a 30-day observa-
   ﬁled Nov. 15, 2013, titled REMOTE INTERFACING OF                     tion day period has proven unworkable because such ECG
   EXTENDED WEAR ELECTROCARDIOGRAPHY AND 30 monitoring systems are arduous to employ, cumbersome to
   PHYSIOLOGICAL SENSOR MONITOR, which is a con-                        the patient, and excessively costly. Ambulatory monitoring
   tinuation-in-part of U.S. patent application Ser. No. 14/080,        in-clinic is implausible and impracticable. Nevertheless, if a
   717, ﬁled Nov. 14, 2013, titled EXTENDED WEAR ELEC-                  patient’s ECG could be recorded in an ambulatory setting,
   TROCARDIOGRAPHY PATCH, which claims priority to                      thereby allowing the patient to engage in activities of daily
   U.S. Provisional Patent App. No. 61/882,403, ﬁled Sep. 25, 35 living, the chances of acquiring meaningful information and
   2013, titled LONG-TERM WEARABLE PHYSIOLOGI-                          capturing an abnormal event while the patient is engaged in
   CAL MONITOR. U.S. patent application Ser. No. 14/082,                normal activities becomes more likely to be achieved.
   071 is also a continuation-in-part of U.S. patent application           For instance, the long-term wear of ECG electrodes is
   Ser. No. 14/080,725, ﬁled Nov. 14, 2013, titled EXTENDED             complicated by skin irritation and the inability ECG elec-
   WEAR AMBULATORY ELECTROCARDIOGRAPHY 40 trodes to maintain continual skin contact after a day or two.
   AND PHYSIOLOGICAL SENSOR MONITOR, which                              Moreover, time, dirt, moisture, and other environmental
   claims priority to U.S. Provisional Patent App. No. 61/882,          contaminants, as well as perspiration, skin oil, and dead skin
   403, ﬁled Sep. 25, 2013, titled LONG-TERM WEARABLE                   cells from the patient’s body, can get between an ECG
   PHYSIOLOGICAL MONITOR. The entire contents of                        electrode, the non-conductive adhesive used to adhere the
   these applications are incorporated by reference herein in 45 ECG electrode, and the skin’s surface. All of these factors
   their entirely and relied upon.                                      adversely affect electrode adhesion and the quality of car-
                                                                        diac signal recordings. Furthermore, the physical move-
                                FIELD                                   ments of the patient and their clothing impart various
                                                                        compressional, tensile, and torsional forces on the contact
      This application relates in general to electrocardiographic 50 point of an ECG electrode, especially over long recording
   monitoring and, in particular, to an electrocardiography             times, and an inﬂexibly fastened ECG electrode will be
   patch.                                                               prone to becoming dislodged. Moreover, dislodgment may
                                                                        occur unbeknownst to the patient, making the ECG record-
                           BACKGROUND                                   ings worthless. Further, some patients may have skin that is
                                                                     55 susceptible to itching or irritation, and the wearing of ECG
      The heart emits electrical signals as a by-product of the         electrodes can aggravate such skin conditions. Thus, a
   propagation of the action potentials that trigger depolariza-        patient may want or need to periodically remove or replace
   tion of heart ﬁbers. An electrocardiogram (ECG) measures             ECG electrodes during a long-term ECG monitoring period,
   and records such electrical potentials to visually depict the        whether to replace a dislodged electrode, reestablish better
   electrical activity of the heart over time. Conventionally, a 60 adhesion, alleviate itching or irritation, allow for cleansing
   standardized set format 12-lead conﬁguration is used by an           of the skin, allow for showering and exercise, or for other
   ECG machine to record cardiac electrical signals from                purpose. Such replacement or slight alteration in electrode
   well-established traditional chest locations. Electrodes at the      location actually facilitates the goal of recording the ECG
   end of each lead are placed on the skin over the anterior            signal for long periods of time.
   thoracic region of the patient’s body to the lower right and 65         Conventionally, Holter monitors are widely used for long-
   to the lower left of the sternum, on the left anterior chest, and    term extended ECG monitoring. Typically, they are used for
   on the limbs. Sensed cardiac electrical activity is represented      only 24-48 hours. A typical Holter monitor is a wearable and
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   portable version of an ECG that include cables for each            worn for a long period of time in both men and women and
   electrode placed on the skin and a separate battery-powered        capable of recording atrial signals reliably.
   ECG recorder. The cable and electrode combination (or                 A further need remains for facilities to integrate wider-
   leads) are placed in the anterior thoracic region in a manner      ranging physiological and “life tracking”-type data into
   similar to what is done with an in-clinic standard ECG 5 long-term ECG and physiological data monitoring.
   machine. The duration of a Holter monitoring recording
   depends on the sensing and storage capabilities of the                                      SUMMARY
   monitor, as well as battery life. A “looping” Holter monitor
   (or event) can operate for a longer period of time by                 Physiological monitoring can be provided through a wear-
                                                                   10 able monitor that includes two components, a ﬂexible
   overwriting older ECG tracings, thence “recycling” storage
   in favor of extended operation, yet at the risk of losing event    extended wear electrode patch and a removable reusable
   data. Although capable of extended ECG monitoring, Holter          monitor recorder. The wearable monitor sits centrally (in the
   monitors are cumbersome, expensive and typically only              midline) on the patient’s chest along the sternum oriented
   available by medical prescription, which limits their usabil- 15 top-to-bottom. The placement of the wearable monitor in a
   ity. Further, the skill required to properly place the elec-       location at the sternal midline (or immediately to either side
   trodes on the patient’s chest hinders or precludes a patient       of the sternum), with its unique narrow “hourglass”-like
   from replacing or removing the precordial leads and usually        shape, beneﬁts long-term extended wear by removing the
   involves moving the patient from the physician office to a         requirement that ECG electrodes be continually placed in
   specialized center within the hospital or clinic.               20 the same spots on the skin throughout the monitoring period.
      The ZIO XT Patch and ZIO Event Card devices, manu-              Instead, the patient is free to place an electrode patch
   factured by iRhythm Tech., Inc., San Francisco, CA, are            anywhere within the general region of the sternum, the area
   wearable stick-on monitoring devices that are typically worn       most likely to record high quality atrial signals or P-waves.
   on the upper left pectoral region to respectively provide          The wearable monitor can also interoperate wirelessly with
   continuous and looping ECG recording. The location is used 25 other wearable physiology and activity sensors and with
   to simulate surgically implanted monitors. Both of these           wearable or mobile communications devices, including so-
   devices are prescription-only and for single patient use. The      called “smart phones,” to download monitoring data either
   ZIO XT Patch device is limited to a 14-day monitoring              in real-time or in batches. The monitor recorder can also be
   period, while the electrodes only of the ZIO Event Card            equipped with a wireless transceiver to either provide data or
   device can be worn for up to 30 days. The ZIO XT Patch 30 other information to, or receive data or other information
   device combines both electronic recordation components,            from, an interfacing wearable physiology and activity sen-
   including battery, and physical electrodes into a unitary          sor, or wearable or mobile communications devices for relay
   assembly that adheres to the patient’s skin. The ZIO XT            to a further device, such as a server, analysis, or other
   Patch device uses adhesive sufficiently strong to support the      purpose.
   weight of both the monitor and the electrodes over an 35
                                                                         One embodiment provides a remotely-interfaceable elec-
   extended period of time and to resist disadherance from the
                                                                      trocardiography patch. The remotely-interfaceable electro-
   patient’s body, albeit at the cost of disallowing removal or
   relocation during the monitoring period. Moreover, through-        cardiography patch includes a backing formed of a strip of
   out monitoring, the battery is continually depleted and            material and an electrocardiographic electrode on each end
   battery capacity can potentially limit overall monitoring 40 of the backing to capture electrocardiographic signals. A
   duration. The ZIO Event Card device is a form of downsized         ﬂexible circuit includes a pair of circuit traces electrically
   Holter monitor with a recorder component that must be              coupled to the electrocardiographic electrodes. A wireless
   removed temporarily during baths or other activities that          transceiver communicates at least one of the electrocardio-
   could damage the non-waterproof electronics. Both devices          graphic signals and other physiological measures with one
   represent compromises between length of wear and quality 45 or more of a physiology and activity sensor, communication
   of ECG monitoring, especially with respect to ease of long         device, server, and personal computer.
   term use, female-friendly ﬁt, and quality of atrial (P-wave)          A further embodiment provides an electrocardiography
   signals.                                                           patch. The patch includes a backing and at least two elec-
      In addition, with the advent of wireless communications         trocardiographic electrodes each positioned on the backing,
   and wearable computing, other types of personal ambulatory 50 across from another of the electrocardiographic electrodes,
   monitors, of varying degrees of sophistication, have become        to capture electrocardiographic signals. A ﬂexible circuit
   increasingly available. For example, adherents to the so-          includes a pair of circuit traces electrically coupled to the
   called “Quantiﬁed Self” movement combine wearable sen-             electrocardiographic electrodes. A wireless transceiver com-
   sors and wearable computing to self-track activities of their      municates at least a portion of the electrocardiographic
   daily lives, including inputs, states, and performance. The 55 signals.
   Nike+FuelBand, manufactured by Nike Inc., Beaverton,                  A still further embodiment provides an apparatus. A strip
   OR, for instance, provides an activity tracker that is worn on     has ﬁrst and second end sections, and a ﬁrst surface and
   the wrist and allows the wearer to temporally track the            second surface. Two electrocardiographic electrodes are
   number of foot steps taken each day and an estimation of the       provided on the strip with one of the electrocardiographic
   calories burned. The activity tracker can interface with a 60 electrodes provided on the ﬁrst surface of the ﬁrst end
   smart phone device to allow a wearer to monitor their              section of the strip and another of the electrocardiographic
   progress towards a ﬁtness goal. Such quantiﬁed physiology,         electrodes positioned on the ﬁrst surface on the second end
   however, is typically tracked for only the personal use of the     section of the strip. A ﬂexible circuit is mounted to the
   wearer and is not time-correlated to physician-supervised          second surface of the strip and includes a circuit trace
   monitoring.                                                     65 electrically coupled to each of the electrocardiographic
      Therefore, a need remains for an extended wear continu-         electrodes. A wireless transceiver is affixed on one of the ﬁrst
   ously recording ECG monitor practicably capable of being           or second end sections, and a battery is positioned on one of
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   the ﬁrst or second end sections. A processor is positioned on          FIG. 13 is a ﬂow diagram showing a method for offload-
   one of the ﬁrst or second end sections and is housed separate       ing and converting ECG and other physiological data from
   from the battery.                                                   an extended wear electrocardiography and physiological
      The monitoring patch is especially suited to the female          sensor monitor in accordance with one embodiment.
   anatomy. The narrow longitudinal midsection can ﬁt nicely 5
   within the intermammary cleft of the breasts without induc-                         DETAILED DESCRIPTION
   ing discomfort, whereas conventional patch electrodes are
   wide and, if adhesed between the breasts, would cause                  Physiological monitoring can be provided through a wear-
   chaﬁng, irritation, frustration, and annoyance, leading to low      able monitor that includes two components, a ﬂexible
                                                                    10 extended wear electrode patch and a removable reusable
   patient compliance.
                                                                       monitor recorder. FIGS. 1 and 2 are diagrams showing, by
      The foregoing aspects enhance ECG monitoring perfor-
                                                                       way of examples, an extended wear electrocardiography and
   mance and quality, facilitating long-term ECG recording,            physiological sensor monitor 12, including a monitor
   critical to accurate arrhythmia diagnosis.                          recorder 14 in accordance with one embodiment, respec-
      In addition, the foregoing aspects enhance comfort in 15 tively ﬁtted to the sternal region of a female patient 10 and
   women (and certain men), but not irritation of the breasts, by      a male patient 11. The wearable monitor 12 sits centrally (in
   placing the monitoring patch in the best location possible for      the midline) on the patient’s chest along the sternum 13
   optimizing the recording of cardiac signals from the atrium,        oriented top-to-bottom with the monitor recorder 14 prefer-
   another feature critical to proper arrhythmia diagnosis.            ably situated towards the patient’s head. In a further embodi-
      Finally, the foregoing aspects as relevant to monitoring 20 ment, the orientation of the wearable monitor 12 can be
   are equally applicable to recording other physiological mea-        corrected post-monitoring, as further described infra. The
   sures, such as temperature, respiratory rate, blood sugar,          electrode patch 15 is shaped to ﬁt comfortably and confor-
   oxygen saturation, and blood pressure, as well as other             mal to the contours of the patient’s chest approximately
   measures of body chemistry and physiology.                          centered on the sternal midline 16 (or immediately to either
      Still other embodiments will become readily apparent to 25 side of the sternum 13). The distal end of the electrode patch
   those skilled in the art from the following detailed descrip-       15 extends towards the Xiphoid process and, depending
   tion, wherein are described embodiments by way of illus-            upon the patient’s build, may straddle the region over the
   trating the best mode contemplated. As will be realized,            Xiphoid process. The proximal end of the electrode patch
   other and different embodiments are possible and the                15, located under the monitor recorder 14, is below the
   embodiments’ several details are capable of modiﬁcations in 30 manubrium and, depending upon patient’s build, may
   various obvious respects, all without departing from their          straddle the region over the manubrium.
   spirit and the scope. Accordingly, the drawings and detailed           The placement of the wearable monitor 12 in a location at
   description are to be regarded as illustrative in nature and not    the sternal midline 16 (or immediately to either side of the
   as restrictive.                                                     sternum 13) signiﬁcantly improves the ability of the wear-
                                                                    35 able monitor 12 to cutaneously sense cardiac electric sig-
          BRIEF DESCRIPTION OF THE DRAWINGS                            nals, particularly the P-wave (or atrial activity) and, to a
                                                                       lesser extent, the QRS interval signals in the ECG wave-
      FIGS. 1 and 2 are diagrams showing, by way of examples,          forms that indicate ventricular activity, while simultaneously
   an extended wear electrocardiography and physiological              facilitating comfortable long-term wear for many weeks.
   sensor monitor respectively ﬁtted to the sternal region of a 40 The sternum 13 overlies the right atrium of the heart and the
   female patient and a male patient.                                  placement of the wearable monitor 12 in the region of the
      FIG. 3 is a functional block diagram showing a system for        sternal midline 13 puts the ECG electrodes of the electrode
   remote interfacing of an extended wear electrocardiography          patch 15 in a location better adapted to sensing and record-
   and physiological sensor monitor in accordance with one             ing P-wave signals than other placement locations, say, the
   embodiment.                                                      45 upper left pectoral region or lateral thoracic region or the
      FIG. 4 is a perspective view showing an extended wear            limb leads. In addition, placing the lower or inferior pole
   electrode patch with a monitor recorder inserted.                   (ECG electrode) of the electrode patch 15 over (or near) the
      FIG. 5 is a perspective view showing the monitor recorder        Xiphoid process facilitates sensing of ventricular activity
   of FIG. 4.                                                          and provides superior recordation of the QRS interval.
      FIG. 6 is a perspective view showing the extended wear 50           When operated standalone, the monitor recorder 14 of the
   electrode patch of FIG. 4 without a monitor recorder                extended wear electrocardiography and physiological sensor
   inserted.                                                           monitor 12 senses and records the patient’s ECG data into an
      FIG. 7 is a bottom plan view of the monitor recorder of          onboard memory. In addition, the wearable monitor 12 can
   FIG. 4.                                                             interoperate with other devices. FIG. 3 is a functional block
      FIG. 8 is a top view showing the ﬂexible circuit of the 55 diagram showing a system 120 for remote interfacing of an
   extended wear electrode patch of FIG. 4 when mounted                extended wear electrocardiography and physiological sensor
   above the ﬂexible backing.                                          monitor 12 in accordance with one embodiment. The moni-
      FIG. 9 is a functional block diagram showing the com-            tor recorder 14 is a reusable component that can be ﬁtted
   ponent architecture of the circuitry of the monitor recorder        during patient monitoring into a non-conductive receptacle
   of FIG. 4.                                                       60 provided on the electrode patch 15, as further described infra
      FIG. 10 is a functional block diagram showing the cir-           with reference to FIG. 4, and later removed for offloading of
   cuitry of the extended wear electrode patch of FIG. 4.              stored ECG data or to receive revised programming. The
      FIG. 11 is a ﬂow diagram showing a monitor recorder-             monitor recorder 14 can then be connected to a download
   implemented method for monitoring ECG data for use in the           station 125, which could be a programmer or other device
   monitor recorder of FIG. 4.                                      65 that permits the retrieval of stored ECG monitoring data,
      FIG. 12 is a graph showing, by way of example, a typical         execution of diagnostics on or programming of the monitor
   ECG waveform.                                                       recorder 14, or performance of other functions. The monitor
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   recorder 14 has a set of electrical contacts (not shown) that        The wearable monitor 12 can interoperate wirelessly with
   enable the monitor recorder 14 to physically interface to a       other wearable physiology and activity sensors 131 and with
   set of terminals 128 on a paired receptacle 127 of the            wearable or mobile communications devices 133. Wearable
   download station 125. In turn, the download station 125           physiology and activity sensors 131 encompass a wide range
   executes a communications or offload program 126 (“Off- 5 of wirelessly interconnectable devices that measure or moni-
   load”) or similar program that interacts with the monitor         tor data physical to the patient’s body, such as heart rate,
   recorder 14 via the physical interface to retrieve the stored     temperature, blood pressure, and so forth; physical states,
   ECG monitoring data. The download station 125 could be a          such as movement, sleep, footsteps, and the like; and per-
   server, personal computer, tablet or handheld computer,           formance, including calories burned or estimated blood
                                                                  10 glucose level. These devices originate both within the medi-
   smart mobile device, or purpose-built programmer designed
                                                                     cal community to sense and record traditional medical
   speciﬁc to the task of interfacing with a monitor recorder 14.
                                                                     physiology that could be useful to a physician in arriving at
   Still other forms of download station 125 are possible.           a patient diagnosis or clinical trajectory, as well as from
      Upon retrieving stored ECG monitoring data from a              outside the medical community, from, for instance, sports or
   monitor recorder 14, middleware ﬁrst operates on the 15 lifestyle product companies who seek to educate and assist
   retrieved data to adjust the ECG capture quality, as neces-       individuals with self-quantifying interests.
   sary, and to convert the retrieved data into a format suitable       Frequently, wearable physiology and activity sensors 131
   for use by third party post-monitoring analysis software, as      are capable of wireless interfacing with wearable or mobile
   further described infra with reference to FIG. 13. The            communications devices 133, particularly smart mobile
   formatted data can then be retrieved from the download 20 devices, including so-called “smart phones,” to download
   station 125 over a hard link 135 using a control program 137      monitoring data either in real-time or in batches. The wear-
   (“Ctl”) or analogous application executing on a personal          able or mobile communications device 133 executes an
   computer 136 or other connectable computing device, via a         application (“App”) that can retrieve the data collected by
   communications link (not shown), whether wired or wire-           the wearable physiology and activity sensor 131 and evalu-
   less, or by physical transfer of storage media (not shown). 25 ate the data to generate information of interest to the wearer,
   The personal computer 136 or other connectable device may         such as an estimation of the effectiveness of the wearer’s
   also execute middleware that converts ECG data and other          exercise efforts. Still other wearable or mobile communica-
   information into a format suitable for use by a third-party       tions device 133 functions on the collected data are possible.
   post-monitoring analysis program, as further described infra         The wearable or mobile communications devices 133
   with reference to FIG. 13. Note that formatted data stored on 30 could also serve as a conduit for providing the data collected
   the personal computer 136 would have to be maintained and         by the wearable physiology and activity sensor 131 to a
   safeguarded in the same manner as electronic medical              server 122, or, similarly, the wearable physiology and activ-
   records (EMRs) 134 in the secure database 124, as further         ity sensor 131 could itself directly provide the collected data
   discussed infra. In a further embodiment, the download            to the server 122. The server 122 could then merge the
   station 125 is able to directly interface with other devices 35 collected data into the wearer’s EMRs 134 in the secure
   over a computer communications network 121, which could           database 124, if appropriate (and permissible), or the server
   be some combination of a local area network and a wide area       122 could perform an analysis of the collected data, perhaps
   network, including the Internet, over a wired or wireless         based by comparison to a population of like wearers of the
   connection.                                                       wearable physiology and activity sensor 131. Still other
      A client-server model could be used to employ a server 40 server 122 functions on the collected data are possible.
   122 to remotely interface with the download station 125              Finally, the monitor recorder 14 can also be equipped with
   over the network 121 and retrieve the formatted data or other     a wireless transceiver, as further described infra with refer-
   information. The server 122 executes a patient management         ence to FIGS. 9 and 10. Thus, when wireless-enabled, both
   program 123 (“Mgt”) or similar application that stores the        wearable physiology and activity sensors 131 and wearable
   retrieved formatted data and other information in a secure 45 or mobile communications devices 133 could wirelessly
   database 124 cataloged in that patient’s EMRs 134. In             interface with the monitor recorder 14, which could either
   addition, the patient management program 123 could man-           provide data or other information to, or receive data or other
   age a subscription service that authorizes a monitor recorder     information from an interfacing device for relay to a further
   14 to operate for a set period of time or under pre-deﬁned        device, such as the server 122, analysis, or other purpose. In
   operational parameters.                                        50 addition, the monitor recorder 14 could wirelessly interface
      The patient management program 123, or other trusted           directly with the server 122, personal computer 129, or other
   application, also maintains and safeguards the secure data-       computing device connectable over the network 121, when
   base 124 to limit access to patient EMRs 134 to only              the monitor recorder 14 is appropriately equipped for inter-
   authorized parties for appropriate medical or other uses,         facing with such devices. Still other types of remote inter-
   such as mandated by state or federal law, such as under the 55 facing of the monitor recorder 14 are possible.
   Health Insurance Portability and Accountability Act                  During use, the electrode patch 15 is ﬁrst adhesed to the
   (HIPAA) or per the European Union’s Data Protection               skin along the sternal midline 16 (or immediately to either
   Directive. For example, a physician may seek to review and        side of the sternum 13). A monitor recorder 14 is then
   evaluate his patient’s ECG monitoring data, as securely           snapped into place on the electrode patch 15 to initiate ECG
   stored in the secure database 124. The physician would 60 monitoring. FIG. 4 is a perspective view showing an
   execute an application program 130 (“Pgm”), such as a             extended wear electrode patch 15 with a monitor recorder 14
   post-monitoring ECG analysis program, on a personal com-          in accordance with one embodiment inserted. The body of
   puter 129 or other connectable computing device, and,             the electrode patch 15 is preferably constructed using a
   through the application 130, coordinate access to his             ﬂexible backing 20 formed as an elongated strip 21 of wrap
   patient’s EMRs 134 with the patient management program 65 knit or similar stretchable material with a narrow longitu-
   123. Other schemes and safeguards to protect and maintain         dinal mid-section 23 evenly tapering inward from both
   the integrity of patient EMRs 134 are possible.                   sides. A pair of cut-outs 22 between the distal and proximal
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   ends of the electrode patch 15 create a narrow longitudinal     in a location at the sternal midline 16 (or immediately to
   midsection 23 or “isthmus” and deﬁnes an elongated “hour-       either side of the sternum 13) beneﬁts long-term extended
   glass”-like shape, when viewed from above.                      wear by removing the requirement that ECG electrodes be
      The electrode patch 15 incorporates features that signiﬁ-    continually placed in the same spots on the skin throughout
   cantly improve wearability, performance, and patient com- 5 the monitoring period. Instead, the patient is free to place an
   fort throughout an extended monitoring period. During           electrode patch 15 anywhere within the general region of the
   wear, the electrode patch 15 is susceptible to pushing,         sternum 13.
   pulling, and torqueing movements, including compressional          As a result, at any point during ECG monitoring, the
   and torsional forces when the patient bends forward, and        patient’s skin is able to recover from the wearing of an
   tensile and torsional forces when the patient leans back- 10 electrode patch 15, which increases patient comfort and
   wards. To counter these stress forces, the electrode patch 15   satisfaction, while the monitor recorder 14 ensures ECG
   incorporates strain and crimp reliefs, such as described in     monitoring continuity with minimal effort. A monitor
   commonly-assigned U.S. Patent, entitled “Extended Wear          recorder 14 is merely unsnapped from a worn out electrode
   Electrocardiography Patch,” U.S. Pat. No. 9,545,204, issued     patch 15, the worn out electrode patch 15 is removed from
   Jan. 17, 2017, the disclosure of which is incorporated by 15 the skin, a new electrode patch 15 is adhered to the skin,
   reference. In addition, the cut-outs 22 and longitudinal        possibly in a new spot immediately adjacent to the earlier
   midsection 23 help minimize interference with and discom-       location, and the same monitor recorder 14 is snapped into
   fort to breast tissue, particularly in women (and gynecomas-    the new electrode patch 15 to reinitiate and continue the
   tic men). The cut-outs 22 and longitudinal midsection 23        ECG monitoring.
   further allow better conformity of the electrode patch 15 to 20    During use, the electrode patch 15 is ﬁrst adhered to the
   sternal bowing and to the narrow isthmus of ﬂat skin that can   skin in the sternal region. FIG. 6 is a perspective view
   occur along the bottom of the intermammary cleft between        showing the extended wear electrode patch 15 of FIG. 4
   the breasts, especially in buxom women. The cut-outs 22 and     without a monitor recorder 14 inserted. A ﬂexible circuit 32
   longitudinal midsection 23 help the electrode patch 15 ﬁt       is adhered to each end of the ﬂexible backing 20. A distal
   nicely between a pair of female breasts in the intermammary 25 circuit trace 33 and a proximal circuit trace (not shown)
   cleft. Still other shapes, cut-outs and conformities to the     electrically couple ECG electrodes (not shown) to a pair of
   electrode patch 15 are possible.                                electrical pads 34. The electrical pads 34 are provided within
      The monitor recorder 14 removably and reusably snaps         a moisture-resistant seal 35 formed on the bottom surface of
   into an electrically non-conductive receptacle 25 during use.   the non-conductive receptacle 25. When the monitor
   The monitor recorder 14 contains electronic circuitry for 30 recorder 14 is securely received into the non-conductive
   recording and storing the patient’s electrocardiography as      receptacle 25, that is, snapped into place, the electrical pads
   sensed via a pair of ECG electrodes provided on the elec-       34 interface to electrical contacts (not shown) protruding
   trode patch 15, such as described in commonly-assigned          from the bottom surface of the monitor recorder 14, and the
   U.S. Patent, entitled “Extended Wear Ambulatory Electro-        moisture-resistant seal 35 enables the monitor recorder 14 to
   cardiography and Physiological Sensor Monitor,” U.S. Pat. 35 be worn at all times, even during bathing or other activities
   No. 9,730,593, issued Aug. 15, 2017, the disclosure which       that could expose the monitor recorder 14 to moisture.
   is incorporated by reference. The non-conductive receptacle        In addition, a battery compartment 36 is formed on the
   25 is provided on the top surface of the ﬂexible backing 20     bottom surface of the non-conductive receptacle 25, and a
   with a retention catch 26 and tension clip 27 molded into the   pair of battery leads (not shown) electrically interface the
   non-conductive receptacle 25 to conformably receive and 40 battery to another pair of the electrical pads 34. The battery
   securely hold the monitor recorder 14 in place.                 contained within the battery compartment 35 can be replace-
      The monitor recorder 14 includes a sealed housing that       able, rechargeable or disposable.
   snaps into place in the non-conductive receptacle 25. FIG. 5       The monitor recorder 14 draws power externally from the
   is a perspective view showing the monitor recorder 14 of        battery provided in the non-conductive receptacle 25,
   FIG. 4. The sealed housing 50 of the monitor recorder 14 45 thereby uniquely obviating the need for the monitor recorder
   intentionally has a rounded isosceles trapezoidal-like shape    14 to carry a dedicated power source. FIG. 7 is a bottom plan
   52, when viewed from above, such as described in com-           view of the monitor recorder 14 of FIG. 4. A cavity 58 is
   monly-assigned U.S. Design Patent, entitled “Electrocardi-      formed on the bottom surface of the sealed housing 50 to
   ography Monitor,” No. D717,955, issued Nov. 18, 2014, the       accommodate the upward projection of the battery compart-
   disclosure of which is incorporated by reference. The edges 50 ment 36 from the bottom surface of the non-conductive
   51 along the top and bottom surfaces are rounded for patient    receptacle 25, when the monitor recorder 14 is secured in
   comfort. The sealed housing 50 is approximately 47 mm           place on the non-conductive receptacle 25. A set of electrical
   long, 23 mm wide at the widest point, and 7 mm high,            contacts 56 protrude from the bottom surface of the sealed
   excluding a patient-operable tactile-feedback button 55. The    housing 50 and are arranged in alignment with the electrical
   sealed housing 50 can be molded out of polycarbonate, ABS, 55 pads 34 provided on the bottom surface of the non-conduc-
   or an alloy of those two materials. The button 55 is water-     tive receptacle 25 to establish electrical connections between
   proof and the button’s top outer surface is molded silicon      the electrode patch 15 and the monitor recorder 14. In
   rubber or similar soft pliable material. A retention detent 53  addition, a seal coupling 57 circumferentially surrounds the
   and tension detent 54 are molded along the edges of the top     set of electrical contacts 56 and securely mates with the
   surface of the housing 50 to respectively engage the reten- 60 moisture-resistant seal 35 formed on the bottom surface of
   tion catch 26 and the tension clip 27 molded into non-          the non-conductive receptacle 25.
   conductive receptacle 25. Other shapes, features, and con-         The placement of the ﬂexible backing 20 on the sternal
   formities of the sealed housing 50 are possible.                midline 16 (or immediately to either side of the sternum 13)
      The electrode patch 15 is intended to be disposable. The     also helps to minimize the side-to-side movement of the
   monitor recorder 14, however, is reusable and can be trans- 65 wearable monitor 12 in the left- and right-handed directions
   ferred to successive electrode patches 15 to ensure continu-    during wear. To counter the dislodgment of the ﬂexible
   ity of monitoring. The placement of the wearable monitor 12     backing 20 due to compressional and torsional forces, a
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   layer of non-irritating adhesive, such as hydrocolloid, is           contacts 56. The microcontroller 61 connects to the ECG
   provided at least partially on the underside, or contact,            front end circuit 63 that measures raw cutaneous electrical
   surface of the ﬂexible backing 20, but only on the distal end        signals and generates an analog ECG signal representative
   30 and the proximal end 31. As a result, the underside, or           of the electrical activity of the patient’s heart over time.
   contact surface of the longitudinal midsection 23 does not 5            The circuitry 60 of the monitor recorder 14 also includes
   have an adhesive layer and remains free to move relative to          a ﬂash memory 62, which the micro-controller 61 uses for
   the skin. Thus, the longitudinal midsection 23 forms a crimp         storing ECG monitoring data and other physiology and
   relief that respectively facilitates compression and twisting        information. The ﬂash memory 62 also draws power exter-
   of the ﬂexible backing 20 in response to compressional and           nally from the battery provided on the electrode patch 15 via
   torsional forces. Other forms of ﬂexible backing crimp 10 a pair of the electrical contacts 56. Data is stored in a serial
   reliefs are possible.                                                ﬂash memory circuit, which supports read, erase and pro-
      Unlike the ﬂexible backing 20, the ﬂexible circuit 32 is          gram operations over a communications bus. The ﬂash
   only able to bend and cannot stretch in a planar direction.          memory 62 enables the microcontroller 61 to store digitized
   The ﬂexible circuit 32 can be provided either above or below         ECG data. The communications bus further enables the ﬂash
   the ﬂexible backing 20. FIG. 8 is a top view showing the 15 memory 62 to be directly accessed externally over the
   ﬂexible circuit 32 of the extended wear electrode patch 15 of        external connector 65 when the monitor recorder 14 is
   FIG. 4 when mounted above the ﬂexible backing 20. A distal           interfaced to a download station.
   ECG electrode 38 and proximal ECG electrode 39 are                      The circuitry 60 of the monitor recorder 14 further
   respectively coupled to the distal and proximal ends of the          includes an actigraphy sensor 64 implemented as a 3-axis
   ﬂexible circuit 32. A strain relief 40 is deﬁned in the ﬂexible 20 accelerometer. The accelerometer may be conﬁgured to
   circuit 32 at a location that is partially underneath the battery    generate interrupt signals to the microcontroller 61 by
   compartment 36 when the ﬂexible circuit 32 is affixed to the         independent initial wake up and free fall events, as well as
   ﬂexible backing 20. The strain relief 40 is laterally extend-        by device position. In addition, the actigraphy provided by
   able to counter dislodgment of the ECG electrodes 38, 39             the accelerometer can be used during post-monitoring analy-
   due to tensile and torsional forces. A pair of strain relief 25 sis to correct the orientation of the monitor recorder 14 if, for
   cutouts 41 partially extend transversely from each opposite          instance, the monitor recorder 14 has been inadvertently
   side of the ﬂexible circuit 32 and continue longitudinally           installed upside down, that is, with the monitor recorder 14
   towards each other to deﬁne in ‘S’-shaped pattern, when              oriented on the electrode patch 15 towards the patient’s feet,
   viewed from above. The strain relief respectively facilitates        as well as for other event occurrence analyses, such as
   longitudinal extension and twisting of the ﬂexible circuit 32 30 described in commonly-assigned U.S. Pat. No. 9,737,224,
   in response to tensile and torsional forces. Other forms of          issued Aug. 22, 2017, the disclosure of which is incorporated
   circuit board strain relief are possible.                            by reference.
      ECG monitoring and other functions performed by the                  The circuitry 60 of the monitor recorder 14 includes a
   monitor recorder 14 are provided through a micro controlled          wireless transceiver 69 that can provides wireless interfacing
   architecture. FIG. 9 is a functional block diagram showing 35 capabilities. The wireless transceiver 69 also draws power
   the component architecture of the circuitry 60 of the monitor        externally from the battery provided on the electrode patch
   recorder 14 of FIG. 4. The circuitry 60 is externally powered        15 via a pair of the electrical contacts 56. The wireless
   through a battery provided in the non-conductive receptacle          transceiver 69 can be implemented using one or more forms
   25 (shown in FIG. 6). Both power and raw ECG signals,                of wireless communications, including the IEEE 802.11
   which originate in the pair of ECG electrodes 38, 39 (shown 40 computer communications standard, that is Wi-Fi; the 4G
   in FIG. 8) on the distal and proximal ends of the electrode          mobile phone mobile communications standard; the Blu-
   patch 15, are received through an external connector 65 that         etooth data exchange standard; or other wireless communi-
   mates with a corresponding physical connector on the elec-           cations or data exchange standards and protocols. The type
   trode patch 15. The external connector 65 includes the set of        of wireless interfacing capability could limit the range of
   electrical contacts 56 that protrude from the bottom surface 45 interoperability of the monitor recorder 14; for instance,
   of the sealed housing 50 and which physically and electri-           Bluetooth-based implementations are designed for low
   cally interface with the set of pads 34 provided on the              power consumption with a short communications range.
   bottom surface of the non-conductive receptacle 25. The                 The microcontroller 61 includes an expansion port that
   external connector includes electrical contacts 56 for data          also utilizes the communications bus. External devices,
   download, microcontroller communications, power, analog 50 separately drawing power externally from the battery pro-
   inputs, and a peripheral expansion port. The arrangement of          vided on the electrode patch 15 or other source, can interface
   the pins on the electrical connector 65 of the monitor               to the microcontroller 61 over the expansion port in half
   recorder 14 and the device into which the monitor recorder           duplex mode. For instance, an external physiology sensor
   14 is attached, whether an electrode patch 15 or download            can be provided as part of the circuitry 60 of the monitor
   station (not shown), follow the same electrical pin assign- 55 recorder 14, or can be provided on the electrode patch 15
   ment convention to facilitate interoperability. The external         with communication with the micro-controller 61 provided
   connector 65 also serves as a physical interface to a down-          over one of the electrical contacts 56. The physiology sensor
   load station that permits the retrieval of stored ECG moni-          can include an SpO2 sensor, blood pressure sensor, tempera-
   toring data, communication with the monitor recorder 14,             ture sensor, respiratory rate sensor, glucose sensor, airﬂow
   and performance of other functions.                               60 sensor, volumetric pressure sensing, or other types of sensor
      Operation of the circuitry 60 of the monitor recorder 14 is       or telemetric input sources. For instance, the integration of
   managed by a microcontroller 61. The micro-controller 61             an airﬂow sensor is described in commonly-assigned U.S.
   includes a program memory unit containing internal ﬂash              Pat. No. 9,364,155, issued Jun. 14, 2016, the disclosure
   memory that is readable and writeable. The internal ﬂash             which is incorporated by reference.
   memory can also be programmed externally. The micro- 65                 Finally, the circuitry 60 of the monitor recorder 14
   controller 61 draws power externally from the battery pro-           includes patient-interfaceable components, including a tac-
   vided on the electrode patch 15 via a pair of the electrical         tile feedback button 66, which a patient can press to mark
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   events or to perform other functions, and a buzzer 67, such      described in commonly-assigned U.S. Pat. No. 9,655,538,
   as a speaker, magnetic resonator or piezoelectric buzzer. The    issued May 23, 2017, the disclosure which is incorporated
   buzzer 67 can be used by the microcontroller 61 to output        by reference.
   feedback to a patient such as to conﬁrm power up and                In a further embodiment, the circuitry 70 of the electrode
   initiation of ECG monitoring. Still other components as part 5 patch 15 includes a wireless transceiver 75, in lieu the
   of the circuitry 60 of the monitor recorder 14 are possible.     including of the wireless transceiver 69 in the circuitry 60 of
      While the monitor recorder 14 operates under micro            the monitor recorder 14, which interfaces with the micro-
   control, most of the electrical components of the electrode      controller 61 over the microcontroller’s expansion port via
   patch 15 operate passively. FIG. 10 is a functional block        the external connector 74.
   diagram showing the circuitry 70 of the extended wear 10            The monitor recorder 14 continuously monitors the
   electrode patch 15 of FIG. 4. The circuitry 70 of the            patient’s heart rate and physiology. FIG. 11 is a ﬂow diagram
   electrode patch 15 is electrically coupled with the circuitry    showing a monitor recorder-implemented method 100 for
   60 of the monitor recorder 14 through an external connector      monitoring ECG data for use in the monitor recorder 14 of
   74. The external connector 74 is terminated through the set      FIG. 4. Initially, upon being connected to the set of pads 34
   of pads 34 provided on the bottom of the non-conductive 15 provided with the non-conductive receptacle 25 when the
   receptacle 25, which electrically mate to corresponding          monitor recorder 14 is snapped into place, the microcon-
   electrical contacts 56 protruding from the bottom surface of     troller 61 executes a power up sequence (step 101). During
   the sealed housing 50 to electrically interface the monitor      the power up sequence, the voltage of the battery 71 is
   recorder 14 to the electrode patch 15.                           checked, the state of the ﬂash memory 62 is conﬁrmed, both
      The circuitry 70 of the electrode patch 15 performs three 20 in terms of operability check and available capacity, and
   primary functions. First, a battery 71 is provided in a battery  microcontroller operation is diagnostically conﬁrmed. In a
   compartment formed on the bottom surface of the non-             further embodiment, an authentication procedure between
   conductive receptacle 25. The battery 71 is electrically         the microcontroller 61 and the electrode patch 15 are also
   interfaced to the circuitry 60 of the monitor recorder 14 as     performed.
   a source of external power. The unique provisioning of the 25       Following satisfactory completion of the power up
   battery 71 on the electrode patch 15 provides several advan-     sequence, an iterative processing loop (steps 102-109) is
   tages. First, the locating of the battery 71 physically on the   continually executed by the microcontroller 61. During each
   electrode patch 15 lowers the center of gravity of the overall   iteration (step 102) of the processing loop, the ECG frontend
   wearable monitor 12 and thereby helps to minimize shear          63 (shown in FIG. 9) continually senses the cutaneous ECG
   forces and the effects of movements of the patient and 30 electrical signals (step 103) via the ECG electrodes 38, 29
   clothing. Moreover, the housing 50 of the monitor recorder       and is optimized to maintain the integrity of the P-wave. A
   14 is sealed against moisture and providing power externally     sample of the ECG signal is read (step 104) by the micro-
   avoids having to either periodically open the housing 50 for     controller 61 by sampling the analog ECG signal output
   the battery replacement, which also creates the potential for    front end 63. FIG. 12 is a graph showing, by way of
   moisture intrusion and human error, or to recharge the 35 example, a typical ECG waveform 110. The x-axis repre-
   battery, which can potentially take the monitor recorder 14      sents time in approximate units of tenths of a second. The
   off line for hours at a time. In addition, the electrode patch   y-axis represents cutaneous electrical signal strength in
   15 is intended to be disposable, while the monitor recorder      approximate units of millivolts. The P-wave 111 has a
   14 is a reusable component. Each time that the electrode         smooth, normally upward, that is, positive, waveform that
   patch 15 is replaced, a fresh battery is provided for the use 40 indicates atrial depolarization. The QRS complex usually
   of the monitor recorder 14, which enhances ECG monitoring        begins with the downward deﬂection of a Q wave 112,
   performance quality and duration of use. Finally, the archi-     followed by a larger upward deﬂection of an R-wave 113,
   tecture of the monitor recorder 14 is open, in that other        and terminated with a downward waveform of the S wave
   physiology sensors or components can be added by virtue of       114, collectively representative of ventricular depolariza-
   the expansion port of the microcontroller 61. Requiring 45 tion. The T wave 115 is normally a modest upward wave-
   those additional sensors or components to draw power from        form, representative of ventricular depolarization, while the
   a source external to the monitor recorder 14 keeps power         U wave 116, often not directly observable, indicates the
   considerations independent of the monitor recorder 14.           recovery period of the Purkinje conduction ﬁbers.
   Thus, a battery of higher capacity could be introduced when         Sampling of the R-to-R interval enables heart rate infor-
   needed to support the additional sensors or components 50 mation derivation. For instance, the R-to-R interval repre-
   without effecting the monitor recorders circuitry 60.            sents the ventricular rate and rhythm, while the P-to-P
      Second, the pair of ECG electrodes 38, 39 respectively        interval represents the atrial rate and rhythm. Importantly,
   provided on the distal and proximal ends of the ﬂexible          the PR interval is indicative of atrioventricular (AV) con-
   circuit 32 are electrically coupled to the set of pads 34        duction time and abnormalities in the PR interval can reveal
   provided on the bottom of the non-conductive receptacle 25 55 underlying heart disorders, thus representing another reason
   by way of their respective circuit traces 33, 37. The signal     why the P-wave quality achievable by the extended wear
   ECG electrode 39 includes a protection circuit 72, which is      ambulatory electrocardiography and physiological sensor
   an inline resistor that protects the patient from excessive      monitor described herein is medically unique and important.
   leakage current.                                                 The long-term observation of these ECG indicia, as pro-
      Last, in a further embodiment, the circuitry 70 of the 60 vided through extended wear of the wearable monitor 12,
   electrode patch 15 includes a cryptographic circuit 73 to        provides valuable insights to the patient’s cardiac function
   authenticate an electrode patch 15 for use with a monitor        and overall well-being.
   recorder 14. The cryptographic circuit 73 includes a device         Each sampled ECG signal, in quantized and digitized
   capable of secure authentication and validation. The cryp-       form, is temporarily staged in buffer (step 105), pending
   tographic device 73 ensures that only genuine, non-expired, 65 compression preparatory to storage in the ﬂash memory 62
   safe, and authenticated electrode patches 15 are permitted to    (step 106). Following compression, the compressed ECG
   provide monitoring data to a monitor recorder 14, such as        digitized sample is again buffered (step 107), then written to
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                                15                                                                 16
   the ﬂash memory 62 (step 108) using the communications            middleware (steps 153-159) in an iterative processing loop.
   bus. Processing continues (step 109), so long as the moni-        During each iteration (step 153), the ECG datum is read
   toring recorder 14 remains connected to the electrode patch       (step 154) and, if necessary, the gain of the ECG signal is
   15 (and storage space remains available in the ﬂash memory        adjusted (step 155) to compensate, for instance, for reloca-
   62), after which the processing loop is exited and execution 5 tion or replacement of the electrode patch 15 during the
   terminates. Still other operations and steps are possible.        monitoring period.
      In a further embodiment, the monitor recorder 14 also             In addition, depending upon the conﬁguration of the
   continuously receives data from wearable physiology and           wearable monitor 12, other physiological data (or other
   activity sensors 131 and wearable or mobile communica-            information), including patient events, such as a fall, peak
   tions devices 133 (shown in FIG. 3). The data is received in 10
                                                                     activity level, sleep detection, Detection of patient activity
   a conceptually-separate execution thread as part of the
                                                                     levels and states, and so on, may be recorded along with the
   iterative processing loop (steps 102-109) continually
   executed by the microcontroller 61. During each iteration         ECG monitoring data. For instance, actigraphy data may
   (step 102) of the processing loop, if wireless data is available  have been sampled by the actigraphy sensor 64 based on a
   (step 140), a sample of the wireless is read (step 141) by the 15 sensed event occurrence, such as a sudden change in orien-
   microcontroller 61 and, if necessary, converted into a digital    tation due to the patient taking a fall. In response, the
   signal by the onboard ADC of the microcontroller 61. Each         monitor recorder 14 will embed the actigraphy data samples
   wireless data sample, in quantized and digitized form, is         into the stream of data, including ECG monitoring data, that
   temporarily staged in buffer (step 142), pending compres-         is recorded to the ﬂash memory 62 by the micro-controller
   sion preparatory to storage in the ﬂash memory 62 (step 20 61. Post-monitoring, the actigraphy data is temporally
   143). Following compression, the compressed wireless data         matched to the ECG data to provide the proper physiological
   sample is again buffered (step 144), then written to the ﬂash     context to the sensed event occurrence. As a result, the
   memory 62 (step 145) using the communications bus. Pro-           three-axis actigraphy signal is turned into an actionable
   cessing continues (step 109), so long as the monitoring           event occurrence that is provided, through conversion by the
   recorder 14 remains connected to the electrode patch 15 (and 25 middleware, to third party post-monitoring analysis pro-
   storage space remains available in the ﬂash memory 62),           grams, along with the ECG recordings contemporaneous to
   after which the processing loop is exited and execution           the event occurrence. Other types of processing of the other
   terminates. Still other operations and steps are possible.        physiological data (or other information) are possible.
      The monitor recorder 14 stores ECG data and other                 Thus, during execution of the middleware, any other
   information in the ﬂash memory 62 (shown in FIG. 9) using 30 physiological data (or other information) that has been
   a proprietary format that includes data compression. As a         embedded into the recorded ECG monitoring data is read
   result, data retrieved from a monitor recorder 14 must ﬁrst       (step 156) and time-correlated to the time frame of the ECG
   be converted into a format suitable for use by third party        signals that occurred at the time that the other physiological
   post-monitoring analysis software. FIG. 13 is a ﬂow diagram       data (or other information) was noted (step 157). Finally, the
   showing a method 150 for offloading and converting ECG 35 ECG datum, signal gain adjusted, if appropriate, and other
   and other physiological data from an extended wear elec-          physiological data, if applicable and as time-correlated, are
   trocardiography and physiological sensor monitor 12 in            stored in a format suitable to the backend software (step 158)
   accordance with one embodiment. The method 150 can be             used in post-monitoring analysis.
   implemented in software and execution of the software can            In a further embodiment, the other physiological data, if
   be performed on a download station 125, which could be a 40 apropos, is embedded within an unused ECG track. For
   programmer or other device, or a computer system, includ-         example, the SCP-ENG standard allows multiple ECG chan-
   ing a server 122 or personal computer 129, such as further        nels to be recorded into a single ECG record. The monitor
   described supra with reference to FIG. 3, as a series of          recorder 14, though, only senses one ECG channel. The
   process or method modules or steps. For convenience, the          other physiological data can be stored into an additional
   method 150 will be described in the context of being 45 ECG channel, which would otherwise be zero-padded or
   performed by a personal computer 136 or other connectable         altogether omitted. The backend software would then be
   computing device (shown in FIG. 3) as middleware that             able to read the other physiological data in context with the
   converts ECG data and other information into a format             single channel of ECG monitoring data recorded by the
   suitable for use by a third-party post-monitoring analysis        monitor recorder 14, provided the backend software imple-
   program. Execution of the method 150 by a computer 50 mented changes necessary to interpret the other physiologi-
   system would be analogous mutatis mutandis.                       cal data. Still other forms of embedding of the other physi-
      Initially, the download station 125 is connected to the        ological data with formatted ECG monitoring data, or of
   monitor recorder 14 (step 151), such as by physically             providing the other physiological data in a separate manner,
   interfacing to a set of terminals 128 on a paired receptacle      are possible.
   127 or by wireless connection, if available. The data stored 55      Processing continues (step 159) for each remaining ECG
   on the monitor recorder 14, including ECG and physiologi-         datum, after which the processing loop is exited and execu-
   cal monitoring data, other recorded data, and other infor-        tion terminates. Still other operations and steps are possible.
   mation are retrieved (step 152) over a hard link 135 using a         While the invention has been particularly shown and
   control program 137 (“Ctl”) or analogous application              described as referenced to the embodiments thereof, those
   executing on a personal computer 136 or other connectable 60 skilled in the art will understand that the foregoing and other
   computing device.                                                 changes in form and detail may be made therein without
      The data retrieved from the monitor recorder 14 is in a        departing from the spirit and scope.
   proprietary storage format and each datum of recorded ECG
   monitoring data, as well as any other physiological data or          What is claimed is:
   other information, must be converted, so that the data can be 65     1. A wearable electrocardiography monitoring device,
   used by a third-party post-monitoring analysis program.           comprising:
   Each datum of ECG monitoring data is converted by the                a ﬂexible backing including a strip comprising:
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                                                       US 12,161,473 B1
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         a ﬁrst face and a second face, wherein a portion of the             a ﬁrst face and a second face, wherein a portion of the
            ﬁrst face is covered in adhesive to adhere the strip to             ﬁrst face is covered in adhesive to adhere the strip to
            skin of a patient,                                                  skin of a patient,
         a ﬁrst end section,                                                 a ﬁrst end section,
         a second end section opposite the ﬁrst end section, and 5           a second end section opposite the ﬁrst end section, and
         a mid-section between the ﬁrst end section and the                  a mid-section between the ﬁrst end section and the
            second end section, wherein the mid-section is nar-                 second end section, wherein the mid-section is nar-
            rower than the ﬁrst end section and the second end                  rower than the ﬁrst end section and the second end
            section;                                                            section, and wherein the mid-section comprises a
      a ﬂexible circuit mounted to the second face of the strip, 10             ﬁrst edge parallel to a second edge;
         the ﬂexible circuit comprising a ﬁrst circuit trace and a        a ﬂexible circuit mounted to the second face of the strip,
         second circuit trace;                                               the ﬂexible circuit comprising a ﬁrst circuit trace and a
      a ﬁrst electrocardiographic electrode and a second elec-               second circuit trace;
         trocardiographic electrode, wherein the ﬁrst electrocar-         a ﬁrst electrocardiographic electrode and a second elec-
         diographic electrode and the second electrocardio- 15               trocardiographic electrode, wherein the ﬁrst electrocar-
         graphic electrode are conﬁgured to sense                            diographic electrode and the second electrocardio-
         electrocardiographic signals, wherein the ﬁrst electro-             graphic electrode are conﬁgured to sense
         cardiographic electrode and the second electrocardio-               electrocardiographic signals, wherein the ﬁrst electro-
         graphic electrode are coupled to the ﬂexible circuit,               cardiographic electrode and the second electrocardio-
         wherein the ﬁrst electrocardiographic electrode is con- 20          graphic electrode are coupled to the ﬂexible circuit,
         ductively exposed at the ﬁrst face along the ﬁrst end               wherein the ﬁrst electrocardiographic electrode is con-
         section of the strip, wherein the second electrocardio-             ductively exposed at the ﬁrst face along the ﬁrst end
         graphic electrode is conductively exposed at the ﬁrst               section of the strip, wherein the second electrocardio-
         face along the second end section of the strip, wherein             graphic electrode is conductively exposed at the ﬁrst
         the ﬁrst circuit trace is electrically coupled to the ﬁrst 25       face along the second end section of the strip, wherein
         electrocardiographic electrode, wherein the second cir-             the ﬁrst circuit trace is electrically coupled to the ﬁrst
         cuit trace is electrically coupled to the second electro-           electrocardiographic electrode, wherein the second cir-
         cardiographic electrode, and wherein the ﬁrst electro-              cuit trace is electrically coupled to the second electro-
         cardiographic electrode includes an inline resistor;                cardiographic electrode, and wherein the ﬁrst electro-
      a battery vertically aligned with a sealed housing, wherein 30         cardiographic electrode includes an inline resistor;
         the sealed housing includes rounded edges on a top               a battery;
         surface, wherein the sealed housing is coupled to the            a wireless transceiver, wherein the wireless transceiver
         ﬂexible backing, and wherein the sealed housing                     draws power from the battery; and
         includes a processor, wherein the processor is electri-          a sealed housing having rounded edges on a top surface,
         cally coupled to the ﬁrst electrocardiographic electrode, 35        wherein the sealed housing is coupled to the ﬂexible
         the second electrocardiographic electrode, and the bat-                backing, and wherein the sealed housing includes a
         tery, wherein the processor is conﬁgured to process the                processor, wherein the processor is electrically
         electrocardiographic signals sensed via the ﬁrst elec-                 coupled to the ﬁrst electrocardiographic electrode,
         trocardiographic electrode and the second electrocar-                  the second electrocardiographic electrode, and the
         diographic electrode; and                                  40          battery, wherein the processor is conﬁgured to pro-
      a wireless transceiver, wherein the wireless transceiver                  cess the electrocardiographic signals sensed via the
         draws power from the battery.                                          ﬁrst electrocardiographic electrode and the second
      2. The wearable electrocardiography monitoring device of                  electrocardiographic electrode.
   claim 1, wherein the mid-section comprises a ﬁrst edge                 9. The wearable electrocardiography monitoring device of
   parallel to a second edge.                                       45 claim 8, wherein the battery is vertically aligned with the
      3. The wearable electrocardiography monitoring device of         sealed housing.
   claim 1, wherein the wireless transceiver is conﬁgured to              10. The wearable electrocardiography monitoring device
   communicate with an external device via Wi-Fi, mobile               of claim 8, wherein the wireless transceiver is conﬁgured to
   phone communication standards, or Bluetooth.                        communicate with an external device via Wi-Fi, mobile
      4. The wearable electrocardiography monitoring device of 50 phone communication standards, or Bluetooth.
   claim 1, wherein the electrocardiographic signals are con-             11. The wearable electrocardiography monitoring device
   verted to a different format.                                       of claim 8, wherein the electrocardiographic signals are
      5. The wearable electrocardiography monitoring device of         converted to a different format.
   claim 4, wherein the electrocardiographic signals are                  12. The wearable electrocardiography monitoring device
   retrieved by one of a server, a client computer, and a mobile 55 of claim 11, wherein the electrocardiographic signals are
   device via the wireless transceiver after the electrocardio-        retrieved by one of a server, a client computer, and a mobile
   graphic signals are converted to the different format.              device via the wireless transceiver after the electrocardio-
      6. The wearable electrocardiography monitoring device of         graphic signals are converted to the different format.
   claim 1, wherein the adhesive covering the portion of the              13. The wearable electrocardiography monitoring device
   ﬁrst face of the strip is provided on the ﬁrst end section and 60 of claim 8, wherein the adhesive covering the portion of the
   the second end section only.                                        ﬁrst face of the strip is provided on the ﬁrst end section and
      7. The wearable electrocardiography monitoring device of         the second end section only.
   claim 1, wherein the battery is vertically aligned with the            14. The wearable electrocardiography monitoring device
   wireless transceiver.                                               of claim 8, wherein the battery is vertically aligned with the
      8. A wearable electrocardiography monitoring device, 65 wireless transceiver.
   comprising:                                                            15. A wearable electrocardiography monitoring device,
      a ﬂexible backing including a strip comprising:                  comprising:
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                                19                                                                  20
      a ﬂexible backing including a strip comprising:                     wherein the wireless transceiver is conﬁgured to commu-
         a ﬁrst face and a second face, wherein a portion of the            nicate with an external device via Wi-Fi, mobile phone
            ﬁrst face is covered in adhesive to adhere the strip to         communication standards, or Bluetooth,
            skin of a patient,                                            wherein the electrocardiographic signals are converted to
         a ﬁrst end section,                                         5      a different format,
         a second end section opposite the ﬁrst end section, and          wherein the electrocardiographic signals are retrieved by
         a mid-section between the ﬁrst end section and the                 one of a server, a client computer, and a mobile device
            second end section, wherein the mid-section is nar-             via the wireless transceiver after the electrocardio-
            rower than the ﬁrst end section and the second end              graphic signals are converted to the different format,
                                                                    10
            section, and wherein the mid-section comprises a              wherein the adhesive covering the portion of the ﬁrst face
            ﬁrst edge parallel to a second edge;                            of the strip is provided on the ﬁrst end section and the
      a ﬂexible circuit mounted to the second face of the strip,            second end section only, and
         the ﬂexible circuit comprising a ﬁrst circuit trace and a        wherein the battery is vertically aligned with the wireless
         second circuit trace;                                      15      transceiver.
      a ﬁrst electrocardiographic electrode and a second elec-            22. The wearable electrocardiography monitoring device
         trocardiographic electrode, wherein the ﬁrst electrocar-      of claim 20,
         diographic electrode and the second electrocardio-               wherein the wireless transceiver is conﬁgured to commu-
         graphic electrode are conﬁgured to sense                           nicate with an external device via Wi-Fi, mobile phone
         electrocardiographic signals, wherein the ﬁrst electro- 20         communication standards, or Bluetooth,
         cardiographic electrode and the second electrocardio-            wherein the electrocardiographic signals are retrieved by
         graphic electrode are coupled to the ﬂexible circuit,              one of a server, a client computer, and a mobile device
         wherein the ﬁrst electrocardiographic electrode is con-            via the wireless transceiver after the electrocardio-
         ductively exposed at the ﬁrst face along the ﬁrst end              graphic signals are converted to a different format,
         section of the strip, wherein the second electrocardio- 25       wherein the adhesive covering the portion of the ﬁrst face
         graphic electrode is conductively exposed at the ﬁrst              of the strip is provided on the ﬁrst end section and the
         face along the second end section of the strip, wherein            second end section only, and
         the ﬁrst circuit trace is electrically coupled to the ﬁrst       wherein the battery is vertically aligned with the wireless
         electrocardiographic electrode, wherein the second cir-            transceiver.
         cuit trace is electrically coupled to the second electro-  30    23. The wearable electrocardiography monitoring device
                                                                       of claim 20,
         cardiographic electrode, and wherein the ﬁrst electro-
                                                                          wherein the wireless transceiver is conﬁgured to commu-
         cardiographic electrode includes an inline resistor;
                                                                            nicate with an external device via Wi-Fi, mobile phone
      a battery vertically aligned with a sealed housing, wherein           communication standards, or Bluetooth,
         the sealed housing includes rounded edges on a top 35            wherein the electrocardiographic signals are converted to
         surface, wherein the sealed housing is coupled to the              a different format,
         ﬂexible backing, and wherein the sealed housing                  wherein the adhesive covering the portion of the ﬁrst face
         includes a processor, wherein the processor is electri-            of the strip is provided on the ﬁrst end section and the
         cally coupled to the ﬁrst electrocardiographic electrode,          second end section only, and
         the second electrocardiographic electrode, and the bat- 40       wherein the battery is vertically aligned with the wireless
         tery, wherein the processor is conﬁgured to process the            transceiver.
         electrocardiographic signals sensed via the ﬁrst elec-           24. The wearable electrocardiography monitoring device
         trocardiographic electrode and the second electrocar-         of claim 20,
         diographic electrode; and                                        wherein the wireless transceiver is conﬁgured to commu-
      a wireless transceiver, wherein the wireless transceiver 45           nicate with an external device via Wi-Fi, mobile phone
         draws power from the battery.                                      communication standards, or Bluetooth,
      16. The wearable electrocardiography monitoring device              wherein the electrocardiographic signals are converted to
   of claim 15, wherein the wireless transceiver is conﬁgured               a different format,
   to communicate with an external device via Wi-Fi, mobile               wherein the electrocardiographic signals are retrieved by
   phone communication standards, or Bluetooth.                     50      one of a server, a client computer, and a mobile device
      17. The wearable electrocardiography monitoring device                via the wireless transceiver after the electrocardio-
   of claim 15, wherein the electrocardiographic signals are                graphic signals are converted to the different format,
   converted to a different format.                                         and
      18. The wearable electrocardiography monitoring device              wherein the battery is vertically aligned with the wireless
   of claim 17, wherein the electrocardiographic signals are 55             transceiver.
   retrieved by one of a server, a client computer, and a mobile          25. The wearable electrocardiography monitoring device
   device via the wireless transceiver after the electrocardio-        of claim 20,
   graphic signals are converted to the different format.                 wherein the wireless transceiver is conﬁgured to commu-
      19. The wearable electrocardiography monitoring device                nicate with an external device via Wi-Fi, mobile phone
   of claim 15, wherein the adhesive covering the portion of the 60         communication standards, or Bluetooth,
   ﬁrst face of the strip is provided on the ﬁrst end section and         wherein the electrocardiographic signals are converted to
   the second end section only.                                             a different format,
      20. The wearable electrocardiography monitoring device              wherein the electrocardiographic signals are retrieved by
   of claim 15, wherein the battery is vertically aligned with the          one of a server, a client computer, and a mobile device
   wireless transceiver.                                            65      via the wireless transceiver after the electrocardio-
      21. The wearable electrocardiography monitoring device                graphic signals are converted to the different format,
   of claim 20,                                                             and
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      wherein the adhesive covering the portion of the ﬁrst face       wherein the electrocardiographic signals are converted to
        of the strip is provided on the ﬁrst end section and the         a different format, and
        second end section only.                                       wherein the battery is vertically aligned with the wireless
      26. The wearable electrocardiography monitoring device             transceiver.
   of claim 20,                                                   5    29. The wearable electrocardiography monitoring device
      wherein the wireless transceiver is conﬁgured to commu-       of claim 20,
        nicate with an external device via Wi-Fi, mobile phone         wherein the wireless transceiver is conﬁgured to commu-
        communication standards, or Bluetooth,                           nicate with an external device via Wi-Fi, mobile phone
      wherein the electrocardiographic signals are converted to
                                                                         communication standards, or Bluetooth,
        a different format, and                                  10
      wherein the electrocardiographic signals are retrieved by        wherein  the electrocardiographic signals are retrieved by
        one of a server, a client computer, and a mobile device          one of a server, a client computer, and a mobile device
        via the wireless transceiver after the electrocardio-            via the wireless transceiver after the electrocardio-
        graphic signals are converted to the different format.           graphic signals are converted to a different format, and
      27. The wearable electrocardiography monitoring device 15        wherein  the adhesive covering the portion of the ﬁrst face
   of claim 20,                                                          of the strip is provided on the ﬁrst end section and the
      wherein the wireless transceiver is conﬁgured to commu-            second end section only.
        nicate with an external device via Wi-Fi, mobile phone         30. The wearable electrocardiography monitoring device
        communication standards, or Bluetooth,                      of claim 20,
      wherein the electrocardiographic signals are converted to 20     wherein the wireless transceiver is conﬁgured to commu-
        a different format, and                                          nicate with an external device via Wi-Fi, mobile phone
      wherein the adhesive covering the portion of the ﬁrst face         communication standards, or Bluetooth,
        of the strip is provided on the ﬁrst end section and the       wherein  the electrocardiographic signals are retrieved by
        second end section only.                                         one of a server, a client computer, and a mobile device
      28. The wearable electrocardiography monitoring device 25          via the wireless transceiver after the electrocardio-
   of claim 20,                                                          graphic signals are converted to a different format, and
      wherein the wireless transceiver is conﬁgured to commu-          wherein  the battery is vertically aligned with the wireless
        nicate with an external device via Wi-Fi, mobile phone           transceiver.
        communication standards, or Bluetooth,                                             ∗ ∗ ∗ ∗ ∗
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                         Exhibit 4
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                         Exhibit 5
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27,ÿ@+8194:ÿ
AB?ÿ*+9+<7B/ÿ27<C;+4:B,ÿDEE+1B=ÿ
FGGÿH43ÿA4B774ÿ
A+9ÿIB+981=8:/ÿJ+;1E:B91+ÿGK.0Lÿ
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27MÿÿN-0-LOGÿ
      6B+P7QR7S187ÿT+57MÿU1:ÿ*:914:Bÿ
      27<C;+41:9ÿTC5V7BMÿÿ-.ÿJI2ÿHW0?-H00ÿ
      27<C;+41:9ÿT+57Mÿÿ*7P18+;ÿ*+<97418ÿ6+X7ÿ278:BP7Bÿ
      27<C;+4:B,ÿJ;+==MÿÿJ;+==ÿ>>ÿ
      YB:PC84ÿJ:P7MÿÿRAZ/ÿ*[@ÿ
      R+47PMÿÿ*+,ÿ-0/ÿ-0-.ÿ
      27871S7PMÿÿ*+,ÿ-./ÿ-0-.ÿ
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R7+Bÿ27,ÿ@+8194:Mÿ
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[7ÿ3+S7ÿB7S17\7Pÿ,:CBÿA7841:9ÿO.0]^_ÿXB75+B^74ÿ9:41E18+41:9ÿ:Eÿ194794ÿ4:ÿ5+B^74ÿ437ÿP7S187ÿB7E7B7987Pÿ
+V:S7ÿ+9Pÿ3+S7ÿP747B5197Pÿ437ÿP7S187ÿ1=ÿ=CV=4+941+;;,ÿ7`C1S+;794ÿ]E:Bÿ437ÿ19P18+41:9=ÿE:BÿC=7ÿ=4+47Pÿ19ÿ437ÿ
798;:=CB7_ÿ4:ÿ;7<+;;,ÿ5+B^747PÿXB7P18+47ÿP7S187=ÿ5+B^747Pÿ19ÿ1947B=4+47ÿ8:557B87ÿXB1:Bÿ4:ÿ*+,ÿ-H/ÿ.GWF/ÿ437ÿ
79+845794ÿP+47ÿ:Eÿ437ÿ*7P18+;ÿR7S187ÿD579P5794=/ÿ:Bÿ4:ÿP7S187=ÿ43+4ÿ3+S7ÿV779ÿB78;+==1E17Pÿ19ÿ+88:BP+987ÿ
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XB75+B^74ÿ+XXB:S+;ÿ+XX;18+41:9ÿ]Y*D_?ÿa:Cÿ5+,/ÿ437B7E:B7/ÿ5+B^74ÿ437ÿP7S187/ÿ=CVb784ÿ4:ÿ437ÿ<797B+;ÿ
8:94B:;=ÿXB:S1=1:9=ÿ:Eÿ437ÿD84?ÿD;43:C<3ÿ431=ÿ;7447BÿB7E7B=ÿ4:ÿ,:CBÿXB:PC84ÿ+=ÿ+ÿP7S187/ÿX;7+=7ÿV7ÿ+\+B7ÿ43+4ÿ
=:57ÿ8;7+B7PÿXB:PC84=ÿ5+,ÿ19=47+PÿV7ÿ8:5V19+41:9ÿXB:PC84=?ÿ637ÿO.0]^_ÿYB75+B^74ÿT:41E18+41:9ÿR+4+V+=7ÿ
;:8+47Pÿ+4ÿ344X=MQQ\\\?+887==P+4+?EP+?<:SQ=8B1X4=Q8PB3Q8EP:8=Q8EX59QX59?8E5ÿ1P7941E17=ÿ8:5V19+41:9ÿ
XB:PC84ÿ=CV51==1:9=?ÿ637ÿ<797B+;ÿ8:94B:;=ÿXB:S1=1:9=ÿ:Eÿ437ÿD84ÿ198;CP7ÿB7`C1B75794=ÿE:Bÿ+99C+;ÿB7<1=4B+41:9/ÿ
;1=419<ÿ:EÿP7S187=/ÿ<::Pÿ5+9CE+84CB19<ÿXB+84187/ÿ;+V7;19</ÿ+9PÿXB:31V141:9=ÿ+<+19=4ÿ51=VB+9P19<ÿ+9Pÿ
+PC;47B+41:9?ÿY;7+=7ÿ9:47MÿÿJR2ZÿP:7=ÿ9:4ÿ7S+;C+47ÿ19E:B5+41:9ÿB7;+47Pÿ4:ÿ8:94B+84ÿ;1+V1;14,ÿ\+BB+9417=?ÿ[7ÿ
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Y;7+=7ÿV7ÿ+PS1=7Pÿ43+4ÿIRDe=ÿ1==C+987ÿ:Eÿ+ÿ=CV=4+941+;ÿ7`C1S+;7987ÿP747B519+41:9ÿP:7=ÿ9:4ÿ57+9ÿ43+4ÿIRDÿ
3+=ÿ5+P7ÿ+ÿP747B519+41:9ÿ43+4ÿ,:CBÿP7S187ÿ8:5X;17=ÿ\143ÿ:437BÿB7`C1B75794=ÿ:Eÿ437ÿD84ÿ:Bÿ+9,ÿI7P7B+;ÿ
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                   EH Gÿ 0&PÿE)LM*)M]ÿ                 )Lÿ̀!&!10RÿN!^.$1!/!&#Uÿa%1ÿb0U$"ÿ
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                             EMLM*)*\+N-M*)Mÿ          +GZOÿ[*[*)C)LM**(]ÿFIS-ÿ
            )JCc EEFG [*[*)C)CMLM*)Dÿ                  F!P$"0RÿZR!"#1$"0RÿZ^.$V/!&#ÿCCÿ_01#ÿ
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            MC)KD GI         )*JJjC)*LM*)*ÿ            b$%R%X$"0Rÿ!T0R.0#$%&ÿ%Wÿ/!P$"0Rÿ
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            )jCKJÿ GZOÿ [Mj*DÿZP$#$%&ÿ)d)ÿM*)(C*[ÿ F!P$"0RÿP!T$"!ÿU%W#k01!ÿCÿ%W#k01!ÿ
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Case 1:24-cv-01355-JDW        Document 1-1        Filed 12/10/24       Page 57 of 294 PageID #: 68
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Case 1:24-cv-01355-JDW   Document 1-1   Filed 12/10/24   Page 58 of 294 PageID #: 69




                         Exhibit 6
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                                                                                     78
                                                                   7040 ÿ!"#ÿ
   $%&'()ÿ+,--./0ÿ
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       56789ÿ4:ÿ;<.=/9>?@ABC9DÿE?AF9AFGFÿ+H6AD6IDFÿJÿKGBD6A>9ÿ<?>GL9AHÿ+GLL6IMÿ
       ;<.ÿNÿ O?DMÿ PGL79IÿQÿR9IFB?Aÿ        5BH89ÿ
                                             3485ÿ
       STUÿ VVÿ UXU Y!1#Uÿ            Z0[\8ÿÿ8948ÿ
              VWÿ
       ST]ÿ VVÿ ^XUUÿ                7840 ÿV ÿ18[40 ÿ_8`598ÿ18a4ÿb`ÿ09ÿ
              VWÿ                          123425ÿV ÿ7T8584ÿ8a8584ÿV 0425ÿ
       WYVÿ cÿdZVÿ b94\8ÿU]ÿU Sÿ        a098ÿ̀ÿa43ÿÿdZVÿ4``ÿeÿÿÿ[890ÿ
                                              4 ÿa098ÿZ 9a584XÿV234250ÿZ84894ÿÿ
                                             V5ÿ
       WYVÿ cÿdZVÿ b94\8ÿUÿUfÿ         a098ÿ̀ÿa43ÿÿdZVÿ4``ÿeÿ 484ÿ`ÿ
                                             _85"84ÿa\500 ÿ̀ ÿ8584ÿ`ÿ
                                             3\889a043ÿ0ÿ809ÿZ8g098ÿ
      h4%E;/i&jkl4'7)'4)m:ÿÿ
      W ÿ9009ÿ4840 ÿnÿ[8`58ÿ0ÿa[[4ÿ`ÿ420ÿ[85"84ÿ 40̀0940 ÿ
      h4%E;/i&jkl4'7)'3)m:ÿÿ
      728ÿ8a4ÿ9 `05ÿ\3ÿ8o5040 ÿÿ[g00 ÿ`ÿ\p8940g8ÿ8g0898ÿ424ÿ428ÿ80 ÿ
       a4[a4ÿ584ÿ428ÿ80 ÿ0[a4ÿ8qa08584ÿ728ÿ8a4ÿ ÿ̀428ÿ 9009ÿ4840 ÿ[8`58ÿ
      85 448ÿ424ÿ428ÿ0ÿÿÿ 040 ÿ3485ÿ5884ÿ428ÿ8qa08584ÿ ÿ̀
      84\028ÿ9 `598ÿ4ÿÿ[8`598ÿ[890̀0940 ÿ 8983ÿ`ÿ04ÿ
      0488ÿa8ÿÿ8ÿ 4ÿ08ÿ8nÿqa840 ÿ ÿ̀`843ÿÿ8``8940g88ÿÿ95[8ÿ4ÿ
      428ÿ[80948ÿ8g098ÿÿ
Rrrrk EsPEt,+rsPÿ
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                         Exhibit 7
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                                                 )*+*,-ÿ./0ÿ.123ÿ
4567-68ÿ9:;6<=>=+4:,0ÿ?<;@ÿ
54;6ÿAB+*<Bÿ
C4D:;-=Dÿ=EÿF*B>4-7ÿB<Gÿ5:+*>B-=D7ÿ)EEB4D,ÿ
HI1ÿ9=J<,:<GÿK-D::-0ÿK*4-:ÿI11ÿ
KB<ÿLDB<;4,;=0ÿMB>4E=D<4Bÿ/N21Oÿÿ
ÿ
5:PÿÿQ232I1.ÿ
      9DBG:RC:S4;:ÿTB8:PÿU4=ÿ)9ÿVMWÿX=<4-=D4<+ÿK7,-:8ÿ
      5:+*>B-4=<ÿT*8Y:DPÿÿ.2ÿML5ÿ3Z1@.311ÿ
      5:+*>B-4=<ÿTB8:PÿÿX:G4;B>ÿXB+<:-4;ÿ9B[:ÿ5:;=DG:Dÿ
      5:+*>B-=D7ÿM>B,,PÿÿM>B,,ÿ??ÿ
      \D=G*;-ÿM=G:PÿÿCK]0ÿCFQ0ÿCK?0ÿC^]ÿ
      CB-:GPÿÿ_*<:ÿI0ÿ.123ÿ
      5:;:4S:GPÿÿ_*<:ÿZ0ÿ.123ÿ
ÿ
C:BDÿ54;6ÿAB+*<BPÿ
ÿ
`:ÿ6BS:ÿD:S4:J:Gÿ7=*DÿK:;-4=<ÿI21abcÿ[D:8BDb:-ÿ<=-4E4;B-4=<ÿ=Eÿ4<-:<-ÿ-=ÿ8BDb:-ÿ-6:ÿG:S4;:ÿD:E:D:<;:Gÿ
BY=S:ÿB<Gÿ6BS:ÿG:-:D84<:Gÿ-6:ÿG:S4;:ÿ4,ÿ,*Y,-B<-4B>>7ÿ:d*4SB>:<-ÿaE=Dÿ-6:ÿ4<G4;B-4=<,ÿE=Dÿ*,:ÿ,-B-:Gÿ4<ÿ-6:ÿ
:<;>=,*D:cÿ-=ÿ>:+B>>7ÿ8BDb:-:Gÿ[D:G4;B-:ÿG:S4;:,ÿ8BDb:-:Gÿ4<ÿ4<-:D,-B-:ÿ;=88:D;:ÿ[D4=Dÿ-=ÿXB7ÿ.30ÿ2/ZH0ÿ-6:ÿ
:<B;-8:<-ÿGB-:ÿ=Eÿ-6:ÿX:G4;B>ÿC:S4;:ÿ)8:<G8:<-,0ÿ=Dÿ-=ÿG:S4;:,ÿ-6B-ÿ6BS:ÿY::<ÿD:;>B,,4E4:Gÿ4<ÿB;;=DGB<;:ÿ
J4-6ÿ-6:ÿ[D=S4,4=<,ÿ=Eÿ-6:ÿL:G:DB>ÿL==G0ÿCD*+0ÿB<GÿM=,8:-4;ÿ);-ÿa);-cÿ-6B-ÿG=ÿ<=-ÿD:d*4D:ÿB[[D=SB>ÿ=EÿBÿ
[D:8BDb:-ÿB[[D=SB>ÿB[[>4;B-4=<ÿa\X)c@ÿe=*ÿ8B70ÿ-6:D:E=D:0ÿ8BDb:-ÿ-6:ÿG:S4;:0ÿ,*Yf:;-ÿ-=ÿ-6:ÿ+:<:DB>ÿ
;=<-D=>,ÿ[D=S4,4=<,ÿ=Eÿ-6:ÿ);-@ÿ)>-6=*+6ÿ-64,ÿ>:--:DÿD:E:D,ÿ-=ÿ7=*Dÿ[D=G*;-ÿB,ÿBÿG:S4;:0ÿ[>:B,:ÿY:ÿBJBD:ÿ-6B-ÿ
,=8:ÿ;>:BD:Gÿ[D=G*;-,ÿ8B7ÿ4<,-:BGÿY:ÿ;=8Y4<B-4=<ÿ[D=G*;-,@ÿ96:ÿI21abcÿ\D:8BDb:-ÿT=-4E4;B-4=<ÿCB-BYB,:ÿ
>=;B-:GÿB-ÿ6--[,PRRJJJ@B;;:,,GB-B@EGB@+=SR,;D4[-,R;GD6R;EG=;,R;E[8<R[8<@;E8ÿ4G:<-4E4:,ÿ;=8Y4<B-4=<ÿ
[D=G*;-ÿ,*Y84,,4=<,@ÿ96:ÿ+:<:DB>ÿ;=<-D=>,ÿ[D=S4,4=<,ÿ=Eÿ-6:ÿ);-ÿ4<;>*G:ÿD:d*4D:8:<-,ÿE=DÿB<<*B>ÿD:+4,-DB-4=<0ÿ
>4,-4<+ÿ=EÿG:S4;:,0ÿ+==Gÿ8B<*EB;-*D4<+ÿ[DB;-4;:0ÿ>BY:>4<+0ÿB<Gÿ[D=64Y4-4=<,ÿB+B4<,-ÿ84,YDB<G4<+ÿB<Gÿ
BG*>-:DB-4=<@ÿ\>:B,:ÿ<=-:PÿÿMC5]ÿG=:,ÿ<=-ÿ:SB>*B-:ÿ4<E=D8B-4=<ÿD:>B-:Gÿ-=ÿ;=<-DB;-ÿ>4BY4>4-7ÿJBDDB<-4:,@ÿ̀:ÿ
D:84<Gÿ7=*0ÿ6=J:S:D0ÿ-6B-ÿG:S4;:ÿ>BY:>4<+ÿ8*,-ÿY:ÿ-D*-6E*>ÿB<Gÿ<=-ÿ84,>:BG4<+@ÿ
ÿ
?Eÿ7=*DÿG:S4;:ÿ4,ÿ;>B,,4E4:Gÿa,::ÿBY=S:cÿ4<-=ÿ:4-6:Dÿ;>B,,ÿ??ÿaK[:;4B>ÿM=<-D=>,cÿ=Dÿ;>B,,ÿ???ÿa\X)c0ÿ4-ÿ8B7ÿY:ÿ
,*Yf:;-ÿ-=ÿBGG4-4=<B>ÿ;=<-D=>,@ÿVg4,-4<+ÿ8Bf=DÿD:+*>B-4=<,ÿBEE:;-4<+ÿ7=*DÿG:S4;:ÿ;B<ÿY:ÿE=*<Gÿ4<ÿ-6:ÿM=G:ÿ=Eÿ
L:G:DB>ÿ5:+*>B-4=<,0ÿ94->:ÿ.20ÿ\BD-,ÿ311ÿ-=ÿ3/3@ÿ?<ÿBGG4-4=<0ÿLC)ÿ8B7ÿ[*Y>4,6ÿE*D-6:DÿB<<=*<;:8:<-,ÿ
;=<;:D<4<+ÿ7=*DÿG:S4;:ÿ4<ÿ-6:ÿL:G:DB>ÿ5:+4,-:D@ÿ
ÿ
\>:B,:ÿY:ÿBGS4,:Gÿ-6B-ÿLC)h,ÿ4,,*B<;:ÿ=EÿBÿ,*Y,-B<-4B>ÿ:d*4SB>:<;:ÿG:-:D84<B-4=<ÿG=:,ÿ<=-ÿ8:B<ÿ-6B-ÿLC)ÿ
6B,ÿ8BG:ÿBÿG:-:D84<B-4=<ÿ-6B-ÿ7=*DÿG:S4;:ÿ;=8[>4:,ÿJ4-6ÿ=-6:DÿD:d*4D:8:<-,ÿ=Eÿ-6:ÿ);-ÿ=DÿB<7ÿL:G:DB>ÿ
,-B-*-:,ÿB<GÿD:+*>B-4=<,ÿBG84<4,-:D:GÿY7ÿ=-6:DÿL:G:DB>ÿB+:<;4:,@ÿe=*ÿ8*,-ÿ;=8[>7ÿJ4-6ÿB>>ÿ-6:ÿ);-h,ÿ
D:d*4D:8:<-,0ÿ4<;>*G4<+0ÿY*-ÿ<=-ÿ>484-:Gÿ-=PÿD:+4,-DB-4=<ÿB<Gÿ>4,-4<+ÿa.2ÿML5ÿ\BD-ÿ31Zciÿ>BY:>4<+ÿa.2ÿML5ÿ\BD-ÿ
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1232ÿ4556ÿ7ÿ89 ÿ6 95ÿ
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494ÿÿ2$493ÿ24%ÿ493ÿ6ÿ!"8ÿ&'ÿ()2ÿ*ÿÿ)929ÿ ÿ44ÿ
 +,,---.2.3,!)9291 ,/ 9248432%029, 12&.ÿ3ÿ
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ÿ494ÿÿ 4ÿ3ÿ2293ÿ294ÿ6ÿ!"8ÿ&'ÿ()2ÿ5ÿÿ)929ÿ ÿ2'ÿ9ÿ
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#'ÿ424ÿ3ÿÿ+,,---.2.3,74928494,(24%,8421)4,42..ÿ
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&'((,',=ÿC%=ÿCE&-C&?CGG*J=,&,?&,=ÿC''<*&<-Cÿ,>,%&+ÿC',ÿ&'C%+-&&,=ÿ&ÿCÿ-%&'%(ÿ?,%&,'ÿI'ÿ',D'&%(KÿI&,'ÿN,C'FÿCÿ
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+<'&%,++ÿIÿM',C&<Fÿ=HH%,++FÿG(<&J<,C=,=%,++FÿD',J+*%?D,Fÿ+*%?D,FÿIC&(E,Fÿ'ÿC%R,&*ÿC%=ÿDC&,%&+ÿN<ÿC',ÿ
C+*-D&-C&?Kÿ<,ÿ',D'&+ÿC',ÿD'>=,=ÿI'ÿ',>,NÿM*ÿ&<,ÿ%&,%=,=ÿE+,'ÿ&ÿ',%=,'ÿCÿ=C(%++ÿMC+,=ÿ%ÿ?G%?CGÿSE=(-,%&ÿ
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                                      hijkljmnÿijÿpÿqnrpspknÿrptnÿluÿjnnvnvwÿ
                       Tg3ÿ3 12/ÿVVx3ÿ2/xUÿ12ÿ y8 9 /13ÿ24ÿ1g ÿ^V z24ÿb 0812/ÿ{1ÿ24ÿ1||0}ÿ
                ~viÿjikÿqnjvÿimsÿhirnknvÿuisÿkiÿknÿrspÿqkpuuÿnplÿpvvsnqqÿniw~
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                                              ^V z24ÿb 0812/ÿ{1ÿ3^b{5ÿd144ÿ
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                ÿ\79ÿ\ÿYÿ99Yÿ:ÿ8]8:[ÿ\ÿ\ÿ]7:8ÿ8ÿYÿ:7:7ÿYÿ:78]ÿY[ÿ\ÿ9XX79Yÿÿ
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uisÿuvpÿÿ¡ ¢ÿ                                                                                    £)"ÿ£EMG+<%(ÿ),'>?,+ÿ¤¥¦P§ÿ̈¨¥J©ª¨¦ÿÿÿÿÿ!«
Case 1:24-cv-01355-JDW     Document 1-1     Filed 12/10/24    Page 72 of 294 PageID #: 83
                                                                         ÈÉÊÉËÌÍÿÉÏË
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          gADDhC@ABihBjhÿkhDCAB
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          gABpqjpÿ4BrADsqptAB
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          ÿÿÿÿÿ ¡¢£¤¥¢¤¤¦
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       $%&'()*+,-(ÿ)(/*+(ÿ01'*2*3,445ÿ+4(,'()ÿ)(/*+(6
           789:;9<ÿ>?@9ABCBD7?EFÿGA@HÿI7BÿJ>ÿKLMÿNBA7;BO7ADÿP:E;?<ÿQRSTUVSWX
       Y%)(/*+(ÿ)(Z+'*&-*13
           >9?ÿIK[PÿP:E;?<ÿ\]Eÿ<BE;ÿO?@e?A;C:ÿVS^Q_Xÿ@C?]O?`ÿaA`?OÿRSTUVSWÿ]Eÿb]O;ÿBcÿ;9?ÿI7B
       J>ÿKLMÿNBA7;BO7ADÿP:E;?<ÿQdI7BÿJ>fXHÿ>9?ÿBO7D7A]Cÿ@C?]O?`ÿKLMÿ<BA7;BO7ADÿE:E;?<ÿ
       @B<bBA?A;Eÿ@BAE7E;?`ÿBcÿ;9?ÿSXÿI7BÿJ>ÿg];@9ÿ8?@BO`?Oÿh?i7@?ÿWXÿI7BÿJ>ÿj7O?C?EEÿM];?\]:ÿ
       h?i7@?ÿ\7;9ÿkCa?;BB;9ÿ]A`ÿL?CCaC]Oÿ>?@9ABCBD:Fÿ]A`ÿUXÿIK[PÿP:E;?<ÿcBOÿ]A]C:E7Eÿ]A`ÿ
       O?bBO;7ADHÿ>97EÿEal<7EE7BAÿ̀7E@aEE?Eÿ;9?ÿ@9]AD?Eÿ<]`?ÿ;Bÿ;9?ÿIK[PÿP:E;?<ÿBAC:Hÿ>9?ÿIK[Pÿ
       P:E;?<ÿ7Eÿ]Aÿ?C?@;OB@]O`7BDO]<ÿQKLMXÿ]A]C:E7Eÿ]A`ÿO?bBO;7ADÿEBc;\]O?ÿE:E;?<Fÿ`?E7DA?`ÿ;Bÿ
       bOB@?EEÿ@BA;7AaBaEC:ÿO?@BO`?`FÿE7DA]CmC?]`ÿKLMÿ`];]Hÿ>9?ÿIK[PÿP:E;?<ÿ`B\ACB]`EFÿE;BO?EFÿ
       ]A]C:n?Eÿ]A`ÿEBO;Eÿ;9?ÿKLMÿ`];]ÿ;Bÿ]CCB\ÿ789:;9<oEÿL?O;7c7?`ÿL]O`7BDO]b97@ÿ>?@9A7@7]AEÿ
       QLL>EXÿ;BÿD?A?O];?ÿ]A`ÿ`7E;O7la;?ÿ]ÿO?bBO;ÿBcÿ;9?ÿc7A`7ADEÿ@BA;]7A?`ÿ\7;97Aÿ;9?ÿ`];]Fÿ;9?O?l:ÿ
       ?A]lC7ADÿ;9?ÿbOBi7E7BAÿBcÿ]ÿ@B<bC?;?ÿKLMÿbOB@?EE7ADÿ]A`ÿ]A]C:E7EÿE?Oi7@?Hÿÿ
           >9?ÿIK[PÿP:E;?<ÿ7Eÿ@BAE7̀?O?`ÿ<B`7c7?`ÿ]Eÿ]ÿO?EaC;ÿBcÿab`];7ADÿ7;EÿO9:;9<ÿ@C]EE7c7@];7BAÿ
       ]CDBO7;9<ÿcOB<ÿ]ÿOaC?ÿ]A`ÿ<]@97A?mC?]OA7ADÿ7<bC?<?A;];7BAÿ;Bÿ]ÿ`??bmC?]OA7ADÿl]E7EHÿ>9?ÿ
       @B<b]O7EBAÿ;Bÿ;9?ÿBO7D7A]CC:ÿ@C?]O?`ÿ̀?i7@?ÿ]A`ÿb?OcBO<]A@?ÿ;?E;ÿO?EaC;Eÿ̀?<BAE;O];?ÿ;9];ÿ;9?ÿ
       <B`7c7?`ÿIK[PÿP:E;?<ÿ7EÿEalE;]A;7]CC:ÿ?pa7i]C?A;ÿ;Bÿ;9?ÿBO7D7A]CÿIK[PÿP:E;?<ÿ@C?]O?`ÿ
       aA`?OÿRSTUVSWFÿ]A`ÿ;9];ÿ;9?ÿ7A;?A`?`ÿaE?ÿBcÿ;9?ÿ`?i7@?ÿ@]Aÿl?ÿ@BAE7E;?A;C:ÿcaCc7CC?`ÿ]Eÿ
       BO7D7A]CC:ÿ@C?]O?`Hÿ
       q%*3)*+,-*13Zÿr1'ÿsZ(
           >9?ÿ`?i7@?ÿ7Eÿ7A;?A`?`ÿ;Bÿ@]b;aO?Fÿ]A]C:n?ÿ]A`ÿO?bBO;ÿE:<b;B<];7@ÿ]A`ÿ]E:<b;B<];7@
       @]O`7]@ÿ?i?A;Eÿ]A`ÿ@BA;7AaBaEÿ?C?@;OB@]O`7BDO]<ÿ7AcBO<];7BAÿcBOÿCBADm;?O<ÿ<BA7;BO7ADHÿ
       j97C?ÿ@BA;7AaBaEC:ÿO?@BO`7ADÿb];7?A;ÿKLMFÿlB;9ÿb];7?A;m;O7DD?O?`ÿ]A`ÿ]a;B<];7@]CC:m`?;?@;?`ÿ
       ]OO9:;9<7]ÿ?i?A;Eÿ]O?ÿ;O]AE<7;;?`ÿ;Bÿ]ÿ<BA7;BO7ADÿ@?A;?OÿcBOÿO?bBO;7ADHÿJc;?Oÿ\?]OFÿ]ÿc7A]Cÿ
       O?bBO;ÿ7EÿD?A?O];?`ÿl]E?`ÿBAÿ;9?ÿl?];m;Bml?];ÿ7AcBO<];7BAÿcOB<ÿ;9?ÿ?A;7O?ÿKLMÿO?@BO`7ADHÿG;ÿ7Eÿ
       7A`7@];?`ÿcBOÿaE?ÿBAÿb];7?A;EÿStÿ:?]OEÿBOÿBC̀?Oÿ\9Bÿ<]:ÿl?ÿ]E:<b;B<];7@ÿBOÿ\9Bÿ<]:ÿEacc?Oÿ
       cOB<ÿ;O]AE7?A;ÿE:<b;B<EÿEa@9ÿ]Eÿb]Cb7;];7BAEFÿE9BO;A?EEÿBcÿlO?];9Fÿ`7nn7A?EEFÿC7D9;m
       9?]`?`A?EEFÿbO?mE:A@Bb?FÿE:A@Bb?Fÿc];7Da?FÿBOÿ]Au7?;:ÿ]A`ÿb];7?A;Eÿ\9Bÿ]O?ÿ]E:<b;B<];7@Hÿ
       >9?ÿO?bBO;Eÿ]O?ÿbOBi7̀?`ÿcBOÿO?i7?\ÿl:ÿ;9?ÿ7A;?A`?`ÿaE?Oÿ;BÿO?A`?Oÿ]ÿ`7]DABE7Eÿl]E?`ÿBAÿ
       @C7A7@]Cÿva`D<?A;ÿ]A`ÿ?ub?O7?A@?HÿG;ÿ7EÿAB;ÿ7A;?A`?`ÿcBOÿaE?ÿBAÿ@O7;7@]Cÿ@]O?ÿb];7?A;EHÿ



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                                                          0123425ÿ789 9ÿÿ40040ÿ
       $%&'(&)*+),*-ÿ/0',1*-/+2/ÿ&'33*45
          678ÿ:;<:=>?:@;AÿB@CÿDA8ÿA?>?8E8;?ÿB@Cÿ?78ÿE@<:B:8<ÿFGHIÿIJA?8Eÿ:Aÿ>;ÿ:<8;?:=>KÿC8BK8=?:@;
       @Bÿ?78ÿ:;<:=>?:@;AÿB@CÿDA8ÿ>AÿC8LC8A8;?8<ÿ:;ÿ?78ÿ@C:M:;>KKJÿ=K8>C8<ÿ<8N:=8Oÿ678ÿL8CB@CE>;=8ÿ
       ?8A?:;MÿC8ADK?Aÿ<8E@;A?C>?8ÿ?7>?ÿ?78ÿ<:BB8C8;=8Aÿ:;ÿ?78ÿ?8=7;@K@M:=>Kÿ=7>C>=?8C:A?:=AÿP8?Q88;ÿ?78ÿ
       <8N:=8Aÿ<@ÿ;@?ÿC>:A8ÿ;8Qÿ:AAD8Aÿ@BÿA>B8?Jÿ@Cÿ8BB8=?:N8;8AAOÿ678C8B@C8Rÿ?78ÿE@<:B:8<ÿFGHIÿ
       IJA?8Eÿ:Aÿ<8?8CE:;8<ÿ?@ÿP8ÿADPA?>;?:>KKJÿ8SD:N>K8;?ÿ?@ÿ?78ÿ@C:M:;>KÿFGHIÿIJA?8Eÿ<8N:=8OÿTÿ
       =@EL>C:A@;ÿ?>PK8ÿ@D?K:;:;Mÿ?78ÿ<:BB8C8;=8Aÿ>;<ÿA:E:K>C:?:8AÿP8?Q88;ÿ?78ÿE@<:B:8<ÿ>;<ÿ@C:M:;>Kÿ
       FGHIÿIJA?8Eÿ:AÿLC@N:<8<ÿ:;ÿUVWXYÿ[\]Oÿ

        )^_àÿb%cdÿÿ&e_fg^hgi^ÿ̀/jeik^àhlaÿ&emm^noÿ)^_àÿ
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        pehlgirhÿ                       F:@ÿT6ÿGvwÿx@;:?@C:;Mÿ 3riiaÿuakiladÿ
                                                               FGHI ÿIJA?8Eÿ
                                        IJA?8Eÿyz{|}~{ÿ
                                        ahan^ÿ̀2^n^lganifgilfÿ
        vK>AA:B:=>?:@;ÿ               vK>AAÿÿ                       vK>AAÿÿ
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        vK>AA:B:=>?:@;ÿ8MDK>?:@;yAÿ {ÿvÿOÿ~ÿ           {ÿvÿO{~ÿ
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        C@<D=?ÿv@<8ÿ                 IRÿzRÿRÿIÿ IRÿzRÿRÿIÿ
        >?:8;?ÿG;N:C@;E8;?ÿ          TEPDK>?@CJÿ                   TEPDK>?@CJÿ
        >?:8;?ÿ@LDK>?:@;ÿ           @;L8<:>?C:=Rÿ;@;=C:?:=>Kÿ @;L8<:>?C:=Rÿ;@;=C:?:=>Kÿ=>C8ÿ
                                      =>C8ÿL>?:8;?Aÿ                L>?:8;?Aÿ
                                      )alhrr̀til^ÿ̀2^n^lganifgilfÿ
        >?>ÿ;LD?ÿ                    :M:?>KÿK@;M?8CEÿ=@;?:;D@DAÿ :M:?>KÿK@;M?8CEÿ=@;?:;D@DAÿ
                                      >;<ÿ?C>;AE:AA:@;ÿGvwÿ >;<ÿ?C>;AE:AA:@;ÿGvwÿ
        >?>ÿ@Q;K@><ÿ                8Aÿ                          8Aÿ
        >?>ÿI?@C>M8ÿ                 8Aÿ                          8Aÿ
                                      8>?ÿ                         8>?ÿ
        GvwÿT;>KJA:Aÿ                 D ;Aÿ                        D;Aÿ
                                      7J?7Eÿ6JL8Aÿ                 7J?7Eÿ6JL8Aÿ
                                      8>C?ÿ>?8Aÿ                  8>C?ÿ>?8Aÿ
        7J?7Eÿ8?8=?:@;ÿTKM@C:?7Eÿ Gvwxÿ                          Gvwxÿ>;<ÿGvwÿ

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                                                                6<TD   ÿDEFAGHÿ
                                     DEFAGHÿIJKLMNKOPÿ
                                     X :AB7YZÿ[7\B7ZZYA78@      X :AB7YZÿ[7\B7ZZYA78@
                                     X =8HWZGAGÿVGYBAÿ\Z8]^ X =8HWZGAGÿVGYBAÿ\Z8]^
                                     X DG]8@_ÿ_GCBGGÿ:`         X DG]8@_ÿ_GCBGGÿ:`ÿ\Z8]^X
                                         \Z8]^XAEWGÿaa              AEWGÿaa
                                     X bYcFGÿdMÿFG]8@_F         X bYcFGÿdMÿFG]8@_F
                                     X D7@cFÿBVEAVH             X D7@cFÿBVEAVH
                                     X DcWBYeG@AB7]cZYB         X DcWBYeG@AB7]cZYBÿAY]VE]YB_7Y
                                         AY]VE]YB_7Y            X `G@AB7]cZYBÿ\7CGH7@E
        UVEAVHÿ;EWGFÿ                X `G@AB7]cZYBÿ\7CGH7@E X `G@AB7]cZYBÿ[7\B7ZZYA78@
                                     X `G@AB7]cZYBÿ[7\B7ZZYA78@ X `G@AB7]cZYB
                                     X `G@AB7]cZYBÿAY]VE]YB_7Y AY]VE]YB_7Y
                                     X `G@AB7]cZYBÿAB7CGH7@E X `G@AB7]cZYBÿAB7CGH7@E
                                                                X DG]8@_ÿ_GCBGGÿ:`ÿ\Z8]^X
                                                                    AEWGÿa
                                                                X <]A8W7]ÿYAB7YZÿBVEAVH
                                                                X fc@]A78@YZÿBVEAVH
                                                                X a_78eG@AB7]cZYBÿBVEAVH
                                                                :ZC8B7AVHÿ=8@AB8ZZGBgÿcW_YAG_ÿA8ÿ
        UGFcZAÿa@AGCBYA8Bÿ           :ZC8B7AVHÿ=8@AB8ZZGBÿ      7@7A7YAGÿ<=>ÿ:@YZEF7FÿAVB8cCVÿ
                                                                <=>higÿY@_ÿ7@AGCBYAGÿAVGÿ
                                                                <=>?iÿY@_ÿ<=>hiÿZY\GZFÿÿ
        :B]V7AG]AcBGÿ                a@AGCBYAG_ÿ:@YZEF7Fÿ;88Zÿ a@AGCBYAG_ÿ:@YZEF7Fÿ;88Zÿ
                                     b=ÿjÿDGBeGBÿ?7kÿA8ÿ        b=ÿjÿDGBeGBÿ?7kÿA8ÿ=Z7@7]7Y@ÿlÿ
        bZYA[8BHÿ                    =Z7@7]7Y@ÿlÿbYA7G@Aÿ       bYA7G@AÿmG\F7AGFÿ
                                     mG\F7AGFÿ
        n:ÿ;88Zÿ                     oGFÿ                       oGFgÿcW_YAG_ÿA8ÿFcWW8BAÿAVGÿ
                                                                GkWY@_G_ÿBVEAVHFÿ
        UGW8BAÿpcAWcAÿ               oGFÿ                     oGFÿ
                                     DA8BGÿY@_ÿBGAB7GeGÿAVGÿ  DA8BGÿY@_ÿBGAB7GeGÿAVGÿ7@AGCBYAG_ÿ
        6<TDÿmG\ÿDGBe7]GFÿ           7@AGCBYAG_ÿ<=>?iÿiY\GZFÿ <=>?iÿY@_ÿ<=>hiÿiY\GZFÿA8ÿ
                                     A8ÿ6<TDÿhYAY\YFGÿ        6<TDÿhYAY\YFGÿ


       0123425ÿ20!ÿ"#ÿ                                                   qrstÿvvÿ
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                                                         0123425ÿ789 9ÿÿ40040ÿ
       $%&'()*(+,-.'ÿ0,1,
           234567ÿ39:ÿ;5<4=<>39?5ÿ=4ÿ6@5ÿ>=:A4A5:ÿBCD2ÿ27E65>ÿ@3EÿF559ÿ5G3HI365:ÿ39:ÿG5<A4A5:ÿA9
       3??=<:39?5ÿJA6@ÿ:5EAK9ÿE;5?A4A?36A=9Eÿ39:ÿ3;;HA?3FH5ÿ;5<4=<>39?5ÿE639:3<:ELÿM@5ÿ>=:A4A5:ÿ
       :5GA?5NEÿ3<<@76@>A3ÿ3HK=<A6@>ÿ:565?6A=9ÿJ3Eÿ65E65:ÿA9ÿ3??=<:39?5ÿ6=ÿOOPQÿOSTQÿUVWXYÿ
       Z[\Z]ÿ^_`abcdÿecfÿg_hijabcdÿk_jlijmecn_ÿg_`opàÿilÿVejfbenÿgqraqmÿecfÿT^sT_dm_caÿ
       P_e`oj_m_caÿOpdijbaqm`tÿA6ÿJ3Eÿ3HE=ÿ5G3HI365:ÿ3??=<:A9Kÿ6=ÿu[u[\sZsvXYZ[\ZwÿP_fbnepÿ
       Up_najbnepÿUxobhm_casÿkejaÿZsvXYÿkejabnopejÿj_xobj_m_càÿlijÿaq_ÿye`bnÿ`el_arÿecfÿ_``_cabepÿ
       h_jlijmecn_ÿilÿemyopeaijrÿ_p_najinejfbidjehqbnÿ`r`a_m`Lÿz::A6A=93HH7wÿ6@5ÿA94=<>36A=9ÿ
       ;<5E5965:ÿA9ÿ6@AEÿEIF>AEEA=9ÿ@3EÿF559ÿ:5G5H=;5:ÿA9ÿ?=9EA:5<36A=9ÿ=4ÿ6@5ÿ<5?=>>59:36A=9Eÿ
       ?=963A95:ÿA9ÿ{|zÿ}IA:39?5ÿ:=?I>596Ewÿ~obfecn_ÿlijÿaq_ÿVica_caÿilÿkj_mej_aÿ
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           M@5ÿ9=9?HA9A?3HÿG5<A4A?36A=9ÿ39:ÿ;5<4=<>39?5ÿ65E6ÿ<5EIH6Eÿ5E63FHAE@5:ÿ6@36ÿ6@5ÿ:5GA?5ÿ>556Eÿ
       A6Eÿ:5EAK9ÿ<5IA<5>596Eÿ39:ÿA9659:5:ÿIE5wÿ6@36ÿ6@5ÿ>=:A4A?36A=9Eÿ6=ÿ6@5ÿ=<AKA93HH7ÿ?H53<5:ÿ
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       @33<:EÿJ5<5ÿ5G3HI365:ÿ39:ÿ?=96<=HH5:ÿF7ÿ6@5ÿ<AEÿ>393K5>596ÿ3?6AGA6A5EwÿA9?HI:A9Kÿ<AEÿ
       393H7EAEwÿ<AEÿ>A6AK36A=9wÿG5<A4A?36A=9ÿ39:ÿ<AEF5954A6ÿ393H7EAELÿÿM@5ÿG5<A4A?36A=9ÿ39:ÿ4IHHÿ
       E7E65>H5G5Hÿ<5K<5EEA=9ÿ65E6A9Kÿ:5>=9E6<365ÿ6@36ÿ6@5ÿ:5GA?5ÿ>556Eÿ3HHÿA6EÿE;5?A4A?36A=9ELÿÿ
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       A9:A?36A=9Eÿ4=<ÿIE5wÿ65?@9=H=KA?3Hÿ?@3<3?65<AE6A?Eÿ39:ÿ;5<4=<>39?5ÿ65E6A9Kÿ?=>;3<AE=9ÿ6=ÿ6@5ÿ
       =<AKA93HH7ÿ?H53<5:ÿ:5GA?5wÿ6@5ÿ>=:A4A5:ÿBCD2ÿ27E65>ÿ<3AE5Eÿ9=ÿ95JÿI5E6A=9Eÿ=4ÿE34567ÿ39:ÿ
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                     Exhibit 10
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                                               Instructions for Use
                                                            Read this booklet to
                                                         learn more about using
                                                                your Zio monitor.




                                                         Apply your Zio monitor
                                                        immediately and do not
                                                        throw away this booklet.
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   MyZio app                                         We are here to support you

   Use the MyZio app to log symptoms, track          •   Contact Customer Care at
   progress, access information about your Zio           (888) 693-2401
   monitor, and view helpful video tutorials         •   Customer Care is available 24 hours
                                                         a day/7 days a week to answer
                                                         questions about your Zio monitor.
                Scan QR code to download
                                                     •   Customer Care troubleshoots
               1. Open the camera app on                 issues with you and reminds you to
                  your phone.                            return your Zio monitor.
               2. Hold the camera so you can see     •   Customer Care collects your
                  the QR code on your screen.            feedback about the Zio monitor.
                  A notification should appear in
                  your camera app.
               3. Tap the notification to download
                  the app.
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 Package contents                                         4       Removing Zio monitor                      19
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 Wearing Zio monitor                                      13


 Visit iRhythm’s website www.irhythmtech.com/user-manuals to view and download
 documents pertinent to privacy notices, product warranty, terms of service, and other
 product information, including additional copies of user manuals.
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 Welcome to Zio monitor                       104

 Product Description
 The Zio® ECG Monitoring System is an ambulatory Electrocardiogram
 (ECG) monitoring system. The Zio ECG Monitoring System consists of
 two components:
 (1) Zio monitor
 (2) proprietary algorithm software.
 The Zio monitor is a single-use ECG monitor that provides a continuous,
 single-channel recording for up to 14 days. The Zio monitor records
 ECG data without patient interaction, with the goal of improving patient
 compliance via simplicity of operation. Patients have the option of pressing
 a convenient button and filling out a log to document symptomatic events,
 which will support symptom-rhythm correlation in the diagnostic report.
 After conclusion of the wear period (up to 14 days), the patient removes the
 Zio monitor and returns it by mail to iRhythm for processing. After receipt,
 the data is analyzed by iRhythm’s proprietary algorithm before a Certified
 Cardiographic Technician (CCT) reviews the results and generates a report
 of the key findings.

 2
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 Example of Zio monitor                 105


               2                           1 Electrode – acquires ECG data
       1
                        3                  2 Adhesive wings – adheres the Zio monitor
                               1       2     to the upper-left chest
                                           3 Light – momentarily flashes green when
                                             activated and orange in the event of an error.
                                              After activation, you will not see any lights.
                                              Refer to Troubleshooting - flashing lights on
                                              page 17.
           5
                                           4 Zio button – activates the Zio monitor.
                                             The patient presses this button when a
                    4                        symptom is felt.
                                           5 Clear plastic backings – remove from back
                                   5
                                             of Zio monitor and discard before applying
                                             to the chest.




                                                                                               3
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 Package contents                            106

 Note: The patient must keep the device box until the end of the prescribed
 wear period. The postage-paid box is re-used to return the device and
 Symptom Log to iRhythm.




                                                 MM / DD / YYYY   MM / DD / YYYY




     Instructions for Use,                   Symptom Log,                                 Zio monitor,
           quantity 1                          quantity 1                                  quantity 1
                                                                                      Note: The Zio monitor is
                                                                                          within a pouch




 4
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     Prep Materials box,               Postage-paid return box                         Adhesive remover wipes,
         quantity 1                     (same as device box)                                 quantity 2
                                       The patient must keep this box.                      Note: The adhesive
                                         The Zio monitor is returned                     remover wipes are in the
                                         in the box at the end of the                      Instructions for Use.
                                           prescribed wear period.



                                                                                                    Alcohol
                                                                         Exfoliator
    The Prep Materials box is                                                                       Wipe


    within the device box and
    contains the following items
    for skin preparation:               Disposable razor,          Exfoliator disc,           Alcohol wipe,
                                           quantity 1                quantity 1                quantity 2

                                                                                                                    5
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 Getting started                               108

 The Zio monitor is an ECG monitor that continuously records the
 electrical activity of the heart. It is intended to be worn continuously
 for a time period specified by a provider for up to 14 days.
 Each patient’s wear duration may differ due to individual wear
 experiences. Excessive sweating may decrease wear duration.
 In-clinic:
 Register the patient
 1. Register the patient online at www.ziosuite.com.
 2. Remove the following items from the device box:
      • Pouch with Zio monitor
      • Prep Materials box
      • Symptom Log
 3. Instruct the patient to keep the box. The box is used to return
    the device at the end of the prescribed wear period.
 4. On the cover of the Symptom Log, write the patient’s name,
    start date, and prescribed wear duration.
     The patient writes the date on the cover when they remove the
     Zio monitor for return.
 6
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 At home:
 1. Remove the following items from the device box:
     • Pouch with Zio monitor
     • Prep Materials box
     • Symptom Log
 2. Keep the box. The box is used to return the device at the end of
    the prescribed wear period.
 3. On the cover of the Symptom Log, write your name and start date.
 4. Refer to your welcome letter and write the number of days on the
    cover prescribed by your physician for wearing this Zio monitor.
 5. Do not write the removal date until you remove the Zio monitor for
    return at the end of your prescribed wear period.




                                                                                              7
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 1. Position prep area                        110

 Remove the razor, exfoliator, and alcohol wipe from the prep materials box.




 In-clinic:                                             At home:
 1. Request the patient stand with their arms           1. Make sure your chest is visible and clear in
    relaxed by their sides during the Zio monitor          front of a mirror.
    application. If standing is not possible, the       2. Find the area on your upper-left chest one
    patient may sit upright.                               finger width below the left collarbone from
 2. Locate the area on the patient’s upper-left            the center of the chest.
    chest one finger width below the left collarbone       The Zio monitor will be placed diagonally on
    from the center of the chest.                          the chest after the skin is prepared.
     The Zio monitor will be placed diagonally on the
     chest after the skin is prepared.
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  2. Prep skin                                           111


                                                                                Alcohol
                                            Exfoliator                          Wipe




  1. Shave chest area requiring         2. Exfoliate prep area:             3. Clean and let dry:
     skin preparation (all genders,     a. Lift up the plastic tab on the   a. Use an alcohol wipe to clean
     including those with no
     visible hair).                        exfoliator to use as a handle.      the prepared chest area.
                                        b. Gently exfoliate the entire        Cleaning may cause a slight
  a. Hold the protective cover on          area with the rough side of        tingling sensation.
     the razor and pull the razor          the exfoliator
     from the cover.                                                        b. Let the skin dry for at least
                                        c. Focus on the top and bottom
  b. Shave the entire area with the                                            1 minute for proper adhesion.
                                           corners; complete 40 strokes
     razor. Shaving is necessary           in total: both diagonal
     whether hair is visible or            directions, up and down, and
     not visible.                          side to side.
  c. Ensure the skin is fully clean        Exfoliating may cause
     and dry before you continue.          expected skin redness.
                                                                                                              9
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  3. Apply Zio monitor                               112




  1. Open the Zio monitor pouch:      2. Peel clear backings:             3. Apply the Zio monitor:
  a. Tear open from either notch.     a. Hold the middle of the           a. Ensure the white arrow on the
  b. Remove the Zio monitor.             Zio monitor.                        paper tab is pointing upward.
                                      b. Pull off the clear plastic       b. Place the Zio monitor
                                         backings carefully and              diagonally on the prepared
                                         avoid touching the                  skin area, one finger width
                                         exposed adhesive.                   below the left collarbone
                                      c. Keep the paper tabs intact on       from the center of the
                                         the other side of the monitor.      upper-left chest.

                                        Note: Wait to remove the
                                        paper tabs in Step 5.
  10
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  4. Massage paper tabs:               5. Remove paper tabs:                 6. Massage wings again:
  a. Massage the paper tabs on         a. Find the double arrows             a. Massage the adhesive wings
     the wings of the Zio monitor         located above and below the           firmly onto the skin for
     firmly for 2 minutes to fully        center of the Zio monitor.            another 2 minutes to prevent
     adhere the Zio monitor to         b. Peel the tab in the direction of      the Zio monitor from slipping
     the chest.                           the double arrows. Ensure the         or falling off the chest.
                                          adhesive wing does not lift        b. If remnants of the paper
  b. Do not move or remove the
                                          using your other hand.                tab are on the wings, peel
     Zio monitor after applying it                                              outward from the center of
     to the chest.                       The center of the Zio monitor
                                                                                the monitor.
                                         may slightly lift from the skin
                                         as the tab is peeled.               c. Do not move or remove the
                                                                                Zio monitor after applying it
                                       c. Remove the remaining tab.
                                                                                to the chest.
                                                                                                                11
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  4. Activate Zio monitor                              114




  • Press and release button:
       a. Press and quickly release the button on the Zio monitor.
       b. Watch the light briefly flash green to indicate the Zio monitor is
          recording ECG data.
       c. If you do not see a green light, call Customer Care at (888) 693-2401.
       d. Retrieve the Symptom Log and write the “Start Time” on the cover.




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  Wearing Zio monitor                            115

  During the first 24 hours, avoid the                   After the first 24 hours, you can continue
  following activities:                                  normal activities:

              Do not swim or take a                                 Take brief showers with
              shower/bath                                           your back to the water

                                                                    Light exercise is
              Avoid activities that may                             acceptable but avoid
              cause you to sweat                                    excess sweating (intense
                                                                    exercise, sauna)
              Do not submerge your                                  Do not submerge your
              Zio monitor in water                                  Zio monitor in water
              (pool, hot tub, bath)                                 (pool, hot tub, bath)

              Do not apply soap                                     Do not apply soap
              or lotions near your                                  or lotions near your
              Zio monitor                                           Zio monitor

  In-clinic: review with your patient
   • Ensure the patient understands the purpose and importance of the Zio ECG monitoring system.
   • While towel drying after a shower, the patient should hold the Zio monitor with one hand.
   • Review how to log symptoms with the patient. Refer to Logging symptoms on page 15.
                                                                                                      13
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  MyZio app                                 116


  Use the MyZio app to log symptoms, track progress,
  access information about your Zio monitor, and view
  helpful video tutorials.




                         Scan QR code to download the app
                         1. Open the camera app on your phone.
                         2. Hold the camera so you can see the QR code on your screen.
                            A notification should appear in your camera app.
                         3. Tap on the notification to download the app.




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  Logging symptoms                                     117

  Logging symptoms provides the healthcare provider with additional information to help analyze
  the patient’s health condition and develop a plan of care. Not all patients experience symptoms.
  A “symptom” is anything unusual the patient feels or experiences.
  1. Press the button on your Zio monitor when            2. L
                                                              og the symptom in either the MyZio
     you feel a symptom.                                     app or in the Symptom Log with the
  • The light does not flash when the button                 following information:
    is pressed.                                           • Date and time the button was pressed.
  • If you forget to either press the button or log      • Symptom and length of time the symptom
     a symptom, the Zio monitor is recording the            was felt or experienced.
     ECG data.                                              Note: If the reason for the button press 		
                                                            is not listed, select “Other” and describe 		
                                                            the symptom.
                                                          • Activity when the symptom was experienced.
                                                            (for example, walking the dog, sleeping,
                                                            standing after sitting)
                                                          • If all pages in the Symptom Log are used,
                                                            download the MyZio app and continue
                                                            logging symptoms.
                                                                                                          15
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  Types of symptoms                                 118

           Chest pain                                          Racing
           Discomfort, tightness, or pressure in
                                                               Heart is pounding or beating too fast
           the chest area

           Fainted                                             Short of breath
           Passed out or lost consciousness                    Difficulty breathing or unable to
                                                               catch breath

           Irregular beats                                     Other
           Heart is skipping beats or beating out              Select and write the reason for button
           of its normal rhythm                                press, if not listed

           Lightheaded
           Dizzy and/or slightly faint

  Any writing outside of the requested entries on the Symptom Log or on
  any materials included with the device will not be documented or shared.
  Contact your physician to share additional information with them.
  If you have questions or concerns about your Zio monitor,
  visit https://www.irhythmtech.com/patients/myzio

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  Troubleshooting – flashing lights            119



                                                     If an orange light is slowly flashing:
     You will not see any lights or
     hear any sounds when your Zio
     monitor is functioning properly.




                                                    • This indicates your Zio monitor is not well
                                                      attached to your skin. It does not mean
    If an orange light is rapidly flashing            something is wrong with your heart.
    (3 flashes per second):                         • Massage the adhesive wings for
    • This indicates your Zio monitor                 3-5 minutes until the orange light
      is not working.                                 disappears to secure your Zio monitor
                                                      to your skin.
    • Call Customer Care at (888) 693-2401.
                                                    • If flashing persists or reoccurs, call
                                                      Customer Care at (888) 693-2401.

                                                                                                    17
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  Troubleshooting – general                          120


  My Zio monitor fell off. What should I do?
  If your Zio monitor has fallen off, call Customer Care at (888) 693-2401.

  Can I travel while wearing my Zio monitor?
  Yes. If you are questioned about your Zio monitor, show the Security
  Screening Statement also found in your Symptom Log or in the MyZio app.
  This person is wearing an iRhythm Zio monitor prescribed by their
  provider. This device is currently adhered to the patient’s chest, where it is
  monitoring their heart. It can only be removed under the direction of
  their provider.
  If you have any questions, please contact the iRhythm Customer Care.

  Can I ship with UPS or FedEx to return my Zio monitor?
  If you decide not to return your Zio monitor with USPS, please send back
  your Zio monitor via expedited shipping (FedEx, UPS) at your own expense.
  Send it to the following address:
  iRhythm Technologies
  Three Parkway North, Suite 400
  Deerfield, Illinois 60015
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  Removing Zio monitor                                   121

  At the end of your prescribed wear time, open the
  adhesive remover and follow steps below to peel off
  your Zio monitor
  1. Gently lift the center of your Zio monitor up.
  2. Starting from the center, use the adhesive remover
     to wipe the area between your skin and your Zio
     monitor.
  3. Continue to wipe as you peel off your Zio monitor, one
     side at a time.
  4. Keep your Zio monitor aside for return and refer to
     step 2 on page 20 for further instructions.
  5. Finally, wash your skin with mild soap, rinse with water,
     and pat dry.

  It is expected for your skin to feel slightly irritated after
  removing your Zio monitor.
  It is expected for your Zio monitor to flash orange as you
  remove it.
                                                                                                19
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  Returning Zio monitor                                                                    122


                                                                                                                                                 MAIL
                                                  feel about Zio?
                                     How do you
                         feedback.
         We value your
                                                                           1   2   3

                                                                                                    Log
                                                                                            Symptom




                                                                                                                          / YYYY
                                                                                                                  MM / DD
                                                                                                         / YYYY
                                                                                                 MM / DD




                                                                                       1     2                        3




  1. Complete your Symptom Log                                         2. Package your Zio monitor                                 3. Mail your Zio monitor
     & survey                                                             & Symptom Log                                            • Drop the Zio monitor box
  • On the cover of the Symptom                                        • Adhere your Zio monitor to                                  inside any USPS mailbox or
    Log, fill in the date the Zio                                        the inside bottom of the Zio                                take it to a post office.
    monitor was removed.                                                 monitor box and place the                                 • You can also schedule
  • Fill out the survey in your                                          Symptom Log on top.                                         a free USPS pickup at
    Symptom Log to tell us about                                       • Seal the box by peeling the                                 www.ziopickup.com.
    your experience. If you prefer                                       tape off the front of the box
                                                                         and press firmly on the flap                              • Mail your Zio monitor back
    to give your feedback online,
                                                                                                                                     promptly so your healthcare
    go to www.ziopatient.com                                             to close.
                                                                                                                                     provider can share the results
                                                                       • It is okay to mail your                                     with you as soon as possible.
                                                                         Zio monitor if it’s still
                                                                         flashing orange.
  20
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  Technical references                                123

  Patient identification                                Intended use
  Before placing your Zio monitor in the Zio            The Zio monitor is intended to capture
  monitor box, please write your name on the line       symptomatic and asymptomatic cardiac events
  above the return address. By writing your name        in a continuous electrocardiogram record for
  on the return label, you are providing another        long-term monitoring.
  method of identification for your Zio monitor and     Indications for use
  are consenting to the potential viewing of your       The Zio monitor is a prescription-only, single-use
  name on the return label. You may choose to not       ECG monitor that continuously records data for
  write your name on the return label.                  up to 14 days. It is indicated for use on patients
  Notification of privacy practices                     who may be asymptomatic or who may suffer
  As participants in your health care, we are           from transient symptoms such as palpitations,
  required by applicable federal and state law to       shortness of breath, dizziness, lightheadedness,
  maintain the privacy of your Protected Health         pre-syncope, syncope, fatigue, or anxiety.
  Information (PHI).
  Our full Notice of Privacy Practices, found at
  www.irhythmtech.com, describes our privacy
  practices, our legal duties, and your rights
  concerning your PHI.



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  Contraindications
  • Do not use the Zio monitor for patients with symptomatic episodes
    where instance variations in cardiac performance could result in
    immediate danger to the patient or when real-time or
    in-patient monitoring should be prescribed.
  • Do not use the Zio monitor in combination with external cardiac
    defibrillators or high frequency surgical equipment, near strong
    magnetic fields or devices such as MRI.
  • Do not use the Zio monitor on patients with a neurostimulator,
    as it may disrupt the quality of ECG data.
  • Do not use the Zio monitor on patients who do not have the
    competency to wear the device for the prescribed wear period.




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  Safety Information                                    125

  CAUTION: Federal (U.S.A.) law restricts the sale        • The Zio monitor is MR unsafe.
  of this device to or on the order of a physician.         Do not expose the Zio monitor to a magnetic
  Warnings                                                  resonance (MR) environment.
                                                             • The MR magnet core can attract the
  • Do not use the Zio monitor on patients with
                                                               ferromagnetic materials in the Zio monitor,
    known allergic reaction to adhesives or
                                                               creating a risk of projectile injury to the
    hydrogels or with family history of adhesive
                                                               patient and others in proximity of the Zio
    skin allergies. If allergic symptoms, severe skin
                                                               monitor and MR device.
    irritation, or signs of skin infection develop,
    remove the device from the patient’s chest and           • Metal components in the Zio monitor can
    discontinue wear. Reaction to adhesives may                heat during MR scanning, resulting in the
    include severe redness and itching, hives, and             potential for thermal injury and burns.
    blisters. Contact your healthcare provider and        • Do not use the Zio monitor on patients with
    Customer Care to report the reaction.                   broken skin. Only apply to intact skin.
                                                          • Do not reuse the Zio monitor on the same
                                                            patient or on multiple patients. It is a single-use
                                                            device. Reuse of the device may result in mixed
                                                            patient results, poor adhesion, and poor
                                                            ECG signal.
                                                          • Do not modify this equipment without
                                                            authorization of the manufacturer.
                                                                                                             23
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  Precautions                                            • Recorded ECG data cannot be retrieved for
  • During storage and prior to prescription for           analysis unless you return your Zio monitor.
    a patient, do not exceed the temperature               Keep the original Zio monitor box. The box
    and humidity limitations for the Zio monitor.          is designed to protect the Zio monitor and
    Devices exposed to environmental conditions            Symptom Log in the return mail when properly
    outside the specified range may have degraded          sealed. Follow the return instructions in this
    adhesive and battery performance.                      manual. If the box is damaged during opening or
  • Observe the temperature and humidity                   handling or lost, contact Customer Care.
    specifications for transportation and storage        • Safety and effectiveness of the Zio monitor on
    listed on the box and in the instructions for use.     pediatric patients (younger than 18 years old)
  • Confirm the expiration date for the Zio monitor        has not been established.
    listed on the Zio box or pouch. Use of an expired    • Do not use the Zio monitor on patients receiving
    device may cause a degradation of ECG signal           any form of pacing therapy. Paced cardiac
    quality and a low battery condition. Apply the         rhythms may not be accurately detected leading
    device on or before expiration date.                   to incorrect preliminary findings.




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  • Carefully prepare skin on the patient’s upper        • If the patient has a known allergic reaction to
    left chest prior to applying the Zio monitor.          limonene, the active ingredient in the adhesive
    Observe the instructions for proper shaving,           remover, use baby oil or petroleum jelly to aid
    exfoliating, and cleaning. Proper placement and        removal instead of the adhesive remover wipe.
    alignment of the Zio monitor on the patient’s
                                                         Serious incident reporting
    chest is important for recording ECG data.
                                                         If you become aware of any malfunction of our
    Carefully follow the sequence of all steps in the
                                                         device which has resulted or could result in
    application instructions to ensure the device is
                                                         serious health consequences for the user, patient,
    properly positioned and securely adhered to the
                                                         or any other person, please inform us
    patient’s chest.
                                                         immediately and inform the Competent Authority
  • Avoid delays in recording ECG data. After            of your country.
    applying the Zio monitor to the patient’s chest,
    follow the instructions in this manual to activate
    recording of ECG data. If the light on the Zio
    monitor does not flash green after a second
    activation attempt, contact Customer Care.
  • Exposing the Zio monitor to any sources of
    infrared light, such as direct sunlight, can
    disrupt the recording of ECG data. Wear clothing
    if exposure to infrared light, such as direct
    sunlight, cannot be avoided.
                                                                                                         25
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  Symbols glossary                                        128

  SYMBOL   SYMBOL       DESCRIPTION/                        SYMBOL   SYMBOL          DESCRIPTION/
           TITLE        EXPLANATION                                  TITLE           EXPLANATION
           Manufacturer Indicates the medical device                 Serial          Indicates the manufacturer’s
                        manufacturer                                 number          serial number so that a
                                                                                     specific medical device
  QTY:     Net quantity Net quantity of contents
           of contents
                                                                                     can be identified
                                                                     Unique          Indicates a carrier that
           Do not use    Indicates a medical device                  device          contains unique device
           if package is should not be used if the                   identifier      identifier information
           damaged       package has been damaged
                         or opened and that the
                         user should consult the                     Temperature Indicates the temperature
                         instructions for use for                    limit       limits to which the medical
                         additional information                                  device can be safely exposed
                                                                     Humidity        Indicates the range of humidity
           Use-by date Indicates the date after
                                                                     limitation      to which the medical device
                       which the medical device
                                                                                     can be safely exposed
                       is not to be used
                                                                     Do not reuse Indicates a medical device that
           Batch code   Indicates the manufacturer’s                              is intended for one use, or for
                        batch code so that the batch or                           use on a single patient during a
                        lot can be identified                                     single procedure

           Catalogue    Indicates the manufacturer’s                 Consult         Indicates a medical device that
           number       catalogue number so that                     instructions    is intended for one use, or for
                        the medical device can be                    for use         use on a single patient during a
                        identified                                                   single procedure

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  SYMBOL   SYMBOL        DESCRIPTION/                        SYMBOL   SYMBOL         DESCRIPTION/
           TITLE         EXPLANATION                                  TITLE          EXPLANATION
           Caution       Indicates the need for the user
                         to consult the instructions for
                                                             IP27     Degrees of
                                                                      protection
                                                                                     Protected against solid
                                                                                     foreign objects of 12.5 mm
                         use for important cautionary                 provided by    diameter and greater, and
                         information such as warnings                 enclosure      protected against the effects of
                         and precautions that cannot,                                temporary immersion in water
                         for a variety of reasons, be
                         presented on the medical                     FCC            Indicates compliance with
                         device itself                                               the Federal Communications
                                                                      compliant
           Type BF      To identify a type BF applied                 radio          Commission (FCC) rules in the
           applied part part complying with IEC                       frequency      United States of America
                        60601-1. A Type BF Applied                    equipment      The FCC identifier (ID) includes
                        Part includes a patient                                      the grantee code and
                        connection that is intended to                               product code.
                        deliver electrical energy or an
                        electrophysiological signal to                Prescription Requires prescription in the
                        or from the patient                           only         United States of America
           Magnetic      A medical device which
           Resonance     poses unacceptable risks
           (MR) unsafe   to the patient, medical staff,
                         or other persons within the
                         MR environment
           Separate      To indicate that the
           collection    product shall be separated
                         when disposed

                                                                                                                    27
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  Device specification                                         130

  The Zio monitor is not manufactured with natural rubber latex.
   Performance characteristics                        Power specifications
   ECG channels             1 channel                            Battery type               1 lithium manganese dioxide
                                                                                            coin cell
   Memory capacity          > 14 days
                                                                 Battery life               > 14 days
   Recording format         Continuous
   Service life             Up to 14 days                        Physical characteristics
   Shelf life               6 months                             Dimensions                 5.5 x 2.2 x 0.4 in
   Electrical characteristics                                                               139.7 x 55.8 x 10.6 mm

   Medical equipment type   BF Applied Part                      Weight                     10 g

   ECG frequency response   0.67 Hz to 40 Hz                     Environmental specifications
   ECG input impedance      > 10 MΩ
                                                                 Operational temperature    41 to 104° F | 5 to 40° C
   ECG differential range   ± 1.65 mV
                                                                 Operational altitude       -1,000 to 10,000 ft | -305 to 3,048 m
   ECG A/D sampling rate    200 Hz                               Shipping (short-term       -4 to 104° F | -20 to 40° C
                                                                 storage) temperature
   ECG resolution           15.5 bits
                                                                 Long-term storage          64 to 80° F | 18 to 27° C
   Gain accuracy            Maximum amplitude error              temperature
                            +/- 10%
                                                                 Operational and storage    10% to 95% (non-condensing)
   Gain stability           < 3% over a 24-hour period           humidity
   Timing accuracy          < 30 sec over 14-day wear period     Storage altitude           -1,000 to 14,000 ft | -305 to 4,267 m
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  Essential performance
  The Zio monitor continuously records ECG data during wear. After wear, the device is
  returned, and the complete ECG recording is extracted for analysis. If the device cannot
  record as intended, the Zio monitor alerts the patient that functionality is impaired. Risks
  associated with failure of the devices to perform as intended have been mitigated to an
  acceptable level.
  Electrical Safety and Compatibility
  • WARNING: The Zio monitor should not be used adjacent to or stacked
    with other equipment.
  • WARNING: Portable and mobile RF communications equipment can affect medical
    electrical equipment. Portable RF communications equipment (including peripherals
    such as antenna cables and external antennas) should be used no closer than 30 cm
    (12 inches) to any part of the Zio monitor. Otherwise, degradation of the performance of
    this equipment could result.
  • CAUTION: The Zio monitor needs special precautions regarding EMC and needs to be
    utilized according to the EMC information provided in the following tables.
  The Zio monitor was tested for electromagnetic compatibility (EMC) according to the
  International Electrotechnical Commission (IEC) 60601-1-2 standard.
  The Zio monitor meets the requirements of the standard and is suitable for a home
  healthcare environment.
                                                                                                  29
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  Table 1: Manufacturer’s declaration —             Table 2: Manufacturer’s declaration — electromagnetic immunity
  electromagnetic emissions
                                                    Immunity test              IEC 60601 test    Compliance level
  Emissions test                 Compliance                                    level
  RF emissions                   Group 1            Electrostatic Discharge    ±8 kV contact     ±8 kV contact
  CISPR 11                                          (ESD)                      ±15 kV air        ±15 kV air
  RF emissions                   Class B            IEC 61000-4-2
  CISPR 11                                          Power frequency            30 A/m            30 A/m
  Harmonic emissions             Not applicable     (50/60 Hz)
                                                    Magnetic field
  IEC 61000-3-2
                                                    IEC 61000-4-8
  Voltage fluctuations/flicker   Not applicable
  emissions                                                                    8 A/m             8 A/m
  IEC 61000-3-3                                                                30 kHz

                                                                               65 A/m
                                                                                                 65 A/m
                                                    Proximity magnetic field   134.2 kHz
                                                    IEC 61000 4-39             2.1 kHz Pulse

                                                                               7.5 A/m           7.5 A/m
                                                                               13.56 MHz
                                                                               50 kHz Pulse




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  Table 3: Manufacturer’s declaration — electromagnetic           Table 4: Manufacturer’s declaration — electromagnetic
  immunity                                                        immunity
  Immunity test        IEC 60601 test     Compliance level        Immunity test        IEC 60601 test    Compliance
                       level                                                           level             level
                       3 Vrms             3 Vrms                                       10 V/m            10 V/m
                       150 kHz to                                                      80 MHz to
                       80 MHz                                                          2.7 GHz
                       outside ISM                                                     28 V/m            28 V/m
  Conducted RF         bands                                                           385, 450, 810,
  IEC 61000-4-6
                       10 Vrms            10 Vrms                                      870, 930 MHz
                       150 kHz to                                                      18 Hz pulse
                       80 MHz                                                          9 V/m             9 V/m
                       in ISM bands                                                    710, 745,
                                                                  Radiated RF
                                                                                       780 MHz
                                                                  IEC 61000-4-3        217 Hz pulse
                                                                                       28 V/m            28 V/m
                                                                                       1720, 1845, 1970,
                                                                                       2450 MHz
                                                                                       217 Hz pulse
                                                                                       9 V/m             9 V/m
                                                                                       5240, 5500,
                                                                                       5783 MHz
                                                                                       217 Hz pulse
                                                                                                                          31
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  Federal Communications Commission (FCC) Compliance
  This system complies with part 15 of the FCC Rules. Operation is
  subject to the following two conditions: (1) this system may not
  cause harmful interference, and (2) this system must accept any
  interference received, including interference that may cause
  undesired operation.




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                     Exhibit 11
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                     Exhibit 12
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CORPORATE PARTICIPANTS
Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.
.....................................................................................................................................................................................................................................................................



OTHER PARTICIPANTS
Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.
.....................................................................................................................................................................................................................................................................



MANAGEMENT DISCUSSION SECTION



[Abrupt Start]
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.
...Of iRhythm. I'm thrilled to have Dan Wilson here. Can I call you a new CFO still or...
.....................................................................................................................................................................................................................................................................

Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.
Yeah. That's okay.
.....................................................................................................................................................................................................................................................................

Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.
That's okay.
.....................................................................................................................................................................................................................................................................

Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.
Yeah, yeah.
.....................................................................................................................................................................................................................................................................

Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.
I'll call you an old CFO, how's that?
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.



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That's refreshment.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.
So, anyway, someone newly minted CFO of iRhythm Technologies, Dan, thank you for joining us today.
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.
Thank you for having us.
.....................................................................................................................................................................................................................................................................



QUESTION AND ANSWER SECTION
Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
Excellent. So, a lot has happened for iRhythm over the last 12 months. And even if you think about it, for the
patch technology market. So, if we could just sort of kick off broadly and just give us maybe a State of the Union
of Patch Technology and how you're thinking about adoption?
.....................................................................................................................................................................................................................................................................

Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Yeah. So, from a market standpoint, we quantify our market being ambulatory cardiac monitoring in the US at 6.5
million tests. There's a lot of kind of mixed shift happening underneath that 6.5 million tests. But we have
continued to see the overall market growing, call it mid-single digits. We do think there's an opportunity to really
expand the market as we're making inroads into primary care, which I'm sure we will talk about it as well as
asymptomatic screening. But a lot of our growth and the market growth has been driven by this mix shift from
legacy short-term [ph] advent (00:03:40) monitoring technologies to patch-based technologies like Zio. And that
has been true for the last several years and will continue to be true for the foreseeable future. Despite all our
progress, there's still over a third of the market is using these legacy technologies in terms of short-term Holter
and event monitoring. So, still a lot of opportunity for us to continue to shift those that modality to patch-based
technology which we know is better both clinically and economically, and then a lot of opportunities to expand the
market from primary care standpoint moving upstream and we're seeing really good progress there. And then
ultimately to asymptomatic screening, which we're seeing early signs of as well.
.....................................................................................................................................................................................................................................................................

Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
And how do you think today about the competitive landscape? I mean, if a third of the market is still – this is a two
part question. The third of the market is still traditional Holter monitors, two-thirds is using some form of a patch
technology, both what is it – what do you think about the competitive side of that two-thirds and what moves the
one-third over?
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Yeah, maybe starting with the second part of that question first. Ultimately, I think it's an education. A matter of
education, just getting out to, primary care physicians and other clinicians that are still leveraging those older


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modalities and showing them the clinical and economic evidence. I mean, it is very clear that Zio and other patch-
based technologies are better than legacy modalities. So, it's a matter of education, I think, how we've gone about
it in terms of starting in cardiology and electrophysiology as the clinical champion, what we're seeing now is those
clinicians helping educate primary care physicians upstream. It's ultimately better for them as well in terms of
getting patients on Zio earlier in their care journey and ultimately the patients coming through to cardiology and
electrophysiology have been kind of pre-qualified. Those are truly the patients that should be seen by
cardiologists and electrophysiologist.

So, that's been encouraging that they've been a champion of this movement and expect that to continue. Within
the competitive landscape of patch-based technologies, I'd say really we feel incredibly good about our
competitive positioning. We've actually grown our share in long-term continuous monitoring and in that segment,
long-term continuous monitoring by a point or two in the last couple of years and starting at 70%. So, pretty high
base that we're growing from there. And really that's driven by Zio Monitor, our new form factor that is getting
really good remarks in the field and certainly a better patient experience.

That form factor is 72% smaller than Zio XT, 55% lighter, better adhesive in terms of breathability and
waterproofing. And our tagline when we launched Zio Monitor was the best just got better because Zio XT was
already best-in-class from a form factor standpoint for Zio Monitor is a step change to that. So, that's been a great
driver in terms of our competitive positioning and ultimately winning share in the market. And then, I would say
just a steady drumbeat of clinical and economic data as well. We had CAMELOT data last year that was nearly
300,000 Medicare patients retrospective of showing Zio XT being best-in-class in terms of diagnostic yield, retest
rate. And that has been a great kind of tool for our commercial team to drive account wins.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
So, I think this is a great place to start talking about the primary care physician. And if I remember correctly,
earlier this year, there was a statistic that maybe 20% of your patches were already going into the PCP, first,
correct me if that's the right number, but also walk through the mechanics of how you're approaching that
segment?
.....................................................................................................................................................................................................................................................................

Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Yeah, yeah. Good question. So, yes, 20% – a little bit over 20% was the metric we gave, I think earlier this year,
which was volume for 2023. That is, we haven't updated that metric, but we will at some point here and it does
continue to grow as overall percent of our business and we expect that to fully continue. How we're approaching
primary care? I think it's really kind of two approaches.

One, our business has always had this land and expand model where we open up an account again with our
clinical champion, cardiology or electrophysiology, and then follow that into other departments in that account,
whether it's emergency room, neurology, nephrology and primary care. That is kind of really been happening for
several years and our best performing reps were kind of doing that organically, opening an account and then
looking for those expansion opportunities. More recently in the last call it two, three years, we've structured our
commercial team to really standardize that approach. We have our territory managers, certainly, but then another
group called Key Account Managers that are really responsible for driving that expansion into those accounts.

So, that's been one way we're going after it, the other effort is with our Strategic Accounts Group, that's really
focused on these innovative PCP groups that we've been talking about more and more, Signify, One Medical, et
cetera. That's a small, dedicated team going after those accounts, it's a very attractive model in terms of kind of a

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top down selling model, a one to many selling model. And a lot of those institutions like to kind of standardize care
across their network. So, once they buy into Zio, they're generally adopting that across their network.
.....................................................................................................................................................................................................................................................................

Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
So, can we dig into this a little bit, because I think some of the accounts that you mentioned, the Signify and the
One Medical, I remember correctly, have almost trial periods to see how the Zio patch might integrate into their
practices. So, how do you approach getting either groups or an accounts just to...
.....................................................................................................................................................................................................................................................................

Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Yeah.
.....................................................................................................................................................................................................................................................................

Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
...sort of say, okay, let me fold this in?
.....................................................................................................................................................................................................................................................................

Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Yeah, yeah, certainly. So, it probably good to distinguish between symptomatic monitoring and asymptomatic
monitoring. Symptomatic patients are generally getting served in one way or another. So, if they're buying into
Zio, they're generally adopting Zio for all of their symptomatic patients. So, I might check.
.....................................................................................................................................................................................................................................................................

Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
Check, check.
.....................................................................................................................................................................................................................................................................

Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Good. Okay. Yeah. In generally, they're adopting Zio for all of their symptomatic patients and that can be a pretty
clean cut over. On the asymptomatic side, generally, they will start with a pilot that are trying to understand which
patients they should be targeting with proactive monitoring. What are those patients that are coming back with
arrhythmias and what to learn from there and then ultimately expand from there. Encouragingly, both Signify and
PCC that we've talked about, adopting these asymptomatic monitoring programs, they've both and there are
others like them have started with a pilot, have seen the value proposition play through, the ROI is meaningful to
them and they've moved on to full commercial program. So, I think that's really encouraging. There's early signs
here that that is going to be a meaningful opportunity for us. We did believe it would show up at some point. It was
more a matter of when, not if. But we're starting to see some really encouraging signs there.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
And is that kind of pilot program expected to be standard across the US or are there more that we'll hear about?
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
                                                                                                                                                                                                                                                                 5
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Yeah. Again, Signify and PCC are just two that we've talked about publicly. There are others like them, both
active programs as well as kind of in the pipeline. And we'll certainly try to share more around those as we're
ramping those. It does kind of cross over into our core business as well. There are institutions that have adopted
Zio for their symptomatic patients have gotten experience with Zio. The clinicians love it, patients love it and then
have expanded into asymptomatic monitoring as well. So, it isn't fully indistinguishable from our core business,
which is why we don't break it out separately. But certainly, we'll give the qualitative color. And again, we're
seeing really encouraging signs here.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
Excellent. I am glad I didn't start with this, but I do you need to talk about some of the regulatory pathways. And if
you could just sort of give us a State of the Union on what's happening with the FDA warning letter and
congratulation on getting the two 510(k) approvals, specifically on that second one, what does that really mean?
.....................................................................................................................................................................................................................................................................

Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Yeah. So, yeah, very encouraging progress there. We received the second of the two 510(k)s while we were live
on our earnings call...
.....................................................................................................................................................................................................................................................................

Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
Was very dramatic. Thank you.
.....................................................................................................................................................................................................................................................................

Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
...very dramatic, but obviously a very encouraging that we received that. So, believe we're making very good
progress to clearing the warning letter. The two 510(k)s were a very important milestone. In doing that, there was
other remediation activities that are ongoing. And ultimately, the FDA will come back at some point for a closing
inspection and confirm that we've done everything they were looking for us to do in terms of remediation efforts,
specific to the warning letter, and then ultimately close that out at some point.

There are now also the 483 observations that we received in July. We put a response plan to the FDA in August,
and we've been executing against that plan now for the last several months. We talked about hiring a new Head
of Quality, and that individual has joined and has made a very big impact in a short amount of time. And we've
talked about bringing in other consulting firms as well to support our efforts here. So, I believe we're doing
everything that we should be doing and we're going to continue to make progress. And ultimately, we'll hear from
the FDA at some point if they're satisfied with our progress or not. But we're focused on what we control and we're
very confident in the plans that we have to address there.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
Do you need to resolve the 483 observations to get the FDA warning letter lifted?
.....................................................................................................................................................................................................................................................................

Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A

                                                                                                                                                                                                                                                                 6
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It's a good question. Ultimately, that is the FDA discretion. So, hard to speculate there. Those observations are
distinct and different from what they called out in the warning letter. So, I think there is a scenario where we've
addressed everything from a warning letter standpoint while still working through the 483 observations. And then,
ultimately, it's the FDA's call to leave the warning letter outstanding while we're addressing the other 483
observations, or did they go ahead and clear up.
.....................................................................................................................................................................................................................................................................

Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
Do you have a line of sight of all clear?
.....................................................................................................................................................................................................................................................................

Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
I think, the timeline we've put out there both commitments to the FDA as well as activities that we're doing that it
goes above and beyond what the FDA is asking us to do is through the end of next year.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
Correct.
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
So, assuming we learn nothing between now and then or get confirmation from the FDA that they're satisfied with
the approach that we're taking, I would say end of next year is when we would really feel good about having the
remediation activities completed.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
And how do I [indiscernible] (00:15:46) this, what is the impact of the end of next year all clear remediation? Is it
financial, is it product, is it approval?
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Yeah.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
Outside of popping champagne saying...
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Yeah.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
...okay, we've done this bridge. What happens?
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Yeah, it's certainly something we'll celebrate. And I think, if we were to fast forward to that time, I think we feel
really good about the foundation that we built from a quality function standpoint, a quality management systems
standpoint to be really that foundation and infrastructure needed to execute on all of our growth plans over the
next decade. So, is it having a material impact on our business today? I wouldn't say it is, though it is our number
one corporate priority, right. We've been very clear about that. And we've put other things to the side for the time
being while we're focused on remediating the FDA's in concerns here. So, once we get that fully resolved and
have that foundation built, I think we can reprioritize other innovation efforts that have kind of taken a little bit of a
backburner at the time, for the time being.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
Okay. This sort of leads me into on the third quarter call, you delayed the next generation Zio MCT. Can you walk
through A, what made you decide to do that? And B, how did you come about to quantifying it as a $10 million
impact?
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Yeah. Yeah. So, importantly, that was voluntary and this was something we chose to do. It was not asked for by
the FDA. But as we were reflecting on kind of what we've learned, as we've been going through this process,
reflecting on the observations we received in July, engaging with our new quality leader, the new consulting firm
that we've engaged, it was really through that dialogue we decided we need to take some time, make that
submission for Zio MCT more robust. And it's really around some testing that just needs to be done really now
that the qualified technician and the cardiac technician is considered part of the device, both from a quality
management standpoint as well as a device clearance standpoint.

So, there's just testing work that needs to be done there. And unfortunately, the stuff that you just can't speed up
just takes time to complete that testing. So, we're committed to doing that. That is the work that will take place
over the next six months. We pointed to a Q3 submission timeline for Zio MCT and continue to feel good about
that. In terms of the $10 million impact. It's interesting. AT is a good product and it is performing well. It is
contributing to growth. We are very hard on that product. We know Zio MCT is ultimately the better product and
does close some competitive gaps that exist with AT. But at the same time, AT does have competitive
advantages of its own, certainly relative to competitors, which is why it continues to grow and take share in the
market.

But again, we know Zio MCT is the better product. Our teams are incredibly excited about ultimately getting that
to market and what we can do with that product. So, that is really what is behind that $10 million impact.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
So, what makes MCT a better product? And I'm really thinking about, this to me, you're very under-leveraged in
the MCOT market. So, what makes this a better product and what makes it a product that allows you to take
market share?
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Yeah, the biggest thing to point to is 21 days of wear versus 14 days today with AT. We know that there's a view
that MCT needs to be a 30-day, if not a 21-day kind of monitoring duration, whereas AT today only goes out to 14
days. We do have small amount of our patients that were back to back ATs, extend out to 28 days. But it's not a
seamless process. So, with Zio MCT, getting out to 21 days is a meaningful change. And it's also on the new form
factor. And we've seen what that means for Zio Monitor that I was referencing earlier. That is a very, very
attractive form factor, certainly relative to existing form factor, but also other competitive devices out there.

So, that's a big driver. There will be algorithm improvements within the device as well in terms of its detection
capabilities that trigger limit that we've talked about as it related to the warning letter, the number of patients that
reach that trigger limit will be drastically reduced because of the better detection algorithm within Zio MCT as well.
So, a number of benefits with Zio MCT, the really that 21 days of wear is to big one to point to.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
And how does it compared to the competitive dynamics right now?
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Yeah. So, this is where the advantage for AT and then certainly MCT. So, a patient can put it on and literally has
to do nothing through the entire wear period, 14 days and 21 days. In terms of charging the device, swapping out
an adhesive, swapping out electrode, that's different than our competitors. To get out to 21 days or 30 days, it
requires the patient to recharge the device, swap out the adhesive, et cetera. And we know any time you
introduce what we call patient manipulations in that time period, your patient compliance is going to be – that
introduces friction and patient compliance suffers from that. So, in the consequences, you're not monitoring a
patient and potentially missing out on arrhythmia when it happens. So, the advantage of AT and MCT is patient
can put it on, they don't have to touch it and you get a full continuous 14 days and then 21 days of monitoring and
capturing every single heartbeat in that time period. That's one thing.

The other, this is kind of a synergy from XT and Monitor is that end of wear report and that really is the product for
XT and Monitor from a physician's perspective, right. That's what they receive at the end of the wear period. If you
do channel checks, physicians will tell you they have extreme confidence in that report. They know and love it,
have confidence that they can review that, in a matter of minutes and know exactly what's happening with that
patient and can then move on to determining what's next for that patient. Physicians are receiving that same end
of wear report for AT and MCT. So, if they're an adopter or a user of next monitor, they're going to get that same
report for AT. And that is a nice some driver for AT and MCT.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
Okay. And I think one of the things you mentioned, and I'm going to start moving a bit into the financials here, is
the benefits of having them both on the same platform. And if you could just sort of start to think about or start to
help us think about, where does the gross and operating leverage come from that similarity?
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
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Yeah. So, yeah, Zio MCT will be on the same form factor that Zio Monitor is on currently. XT and AT look – the
legacy form factors for us look the same, but the internal componentry is different, so they're manufactured on
separate lines. With MCT and Monitor, they will be the same exact product and manufactured on a single line.
And we have been – we've launched phase one of manufacturing automation. We have subsequent phases that
will go live next year, in the year after, and really as we scale from a volume standpoint, from here forward, we're
going to start to see that leverage from a manufacturing standpoint which will ultimately benefit gross margin.

That's on the device side, also within gross margin for us as the clinical operation expense in terms of the human
component, labor component to deliver the service, I think there are more opportunities there to continue to be
more and more efficient with how we deliver that service and there's an opportunity for improvement there. And as
the detection algorithms improve, as our AI continues to improve, that will ultimately benefit gross margin as well.
So, we expect to exit this year close to 70%. We believe, from a full year standpoint. We'll see a step up next year
relative to full year, 2024. And then, we've we have a long-term target out there, 72% to 73% in 2027 and we're
driving towards that.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
And remind us of your long-term targets for 2027 for operating margins or adjusted EBITDA?
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Yeah. So, for adjusted EBITDA, we called out 15% in 2027. Importantly, that is a moment in time, that isn't the
ultimate goal and there's plenty of opportunities to continue to drive above and beyond that and we're focused on
that. The cadence we're on right now is really 400 basis points to 500 basis points of adjusted EBITDA
improvement year-to-year. And we've executed on that in the last couple of years. That's the expectation for next
year as well. And that ultimately is putting us on a pace to exceed that 15%. So, we're on the right trajectory there.
Back to the FDA remediation efforts, there is – and we called out $15 million of run rate expenses, which will
continue into 2025. That is purely incremental in addressing the remediation efforts that are ongoing. So,
ultimately, those will go away and that would drop to the bottom line, which would be a nice lever for us.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
And everything you said, all of these LRP programs, if memory serves me in 2022.
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Correct.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
And a lot has happened since 2022.
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Yeah.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
So, did the things you've done slowed down your ultimate LRP goal or maybe even accelerate it because you've
taken a lot of steps that had to be done?
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
From a profitability standpoint, yeah, again, we feel really good about the trajectory we're on...
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
Yeah.
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
...and achieving that 15% in the gross margin line. On the top line, Zio MCT is now two years delayed from when
we initially set that target in 2022. We've been able to overcome that to this point with the success we're seeing in
primary care expansion, asymptomatic screening and so some puts and takes there. Ultimately, we do need to
get Zio MCT on the market to achieve that $1 billion target. So, we haven't backed away from that. It may be a bit
delayed beyond 2027. If it's not 2027, it will be 2028 in terms of when we eclipse that $1 billion target.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
Got it. That's really helpful. What happens with other areas and other geographies? I sat at that analyst meeting in
2022 and it seemed five years from now this might be happening. And now I'm sitting here on the cusp for 2025
and I'm like, where are we? Or where are you in O-US?
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Yeah. So, yeah, I would say maybe back to the question earlier in terms of the puts and takes. International, I
wouldn't say has gone faster than we were expecting when we set that target in 2022, but still feel good about the
trajectory that we're on. We set up launched into four new Western European countries over the last few months
and then we've been talking about Japan. We received PMDA approval there earlier this year. We're now in the
reimbursement process. Japan alone is 1.5 million tests per year, all being done with short-term Holter. So,
there's a real opportunity there in Japan for us to kind of change the standard of care like we've done in the US
and shift to Zio and patch-based technologies.

Similarly, in the four European countries, collectively that represents another, call it, 1.5 million tests. And
similarly, generally being done today short-term Holter. There are some smaller players from a patch-based
technology standpoint and importantly, those four countries were chosen because of really for reimbursement
purposes there. There is good reimbursement in place and each of those four countries and feel good about
being able to kind of ramp our business within those countries. We're really just getting started. But do feel like
international will be a growth driver for us in 2025 and then, 2026 and beyond.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
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Did you put an RMP goal on the percentage of total revenue expected to come from O-US?
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
We did, we called out 8% of that $1 billion target.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
And where are you tracking towards that now?
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
So, today, before we launched in the four European countries, we're really just in UK and that's, low-single digit
call it less than 2% of revenue.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
Yeah.
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
UK remains an opportunity for us and now we're stacking four additional European countries and then ultimately
Japan as we go into next year. So, continue to feel good about that growing certainly from that less than 2% to
more in line with that 8% target.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
Okay. And what do you have to do to start selling these products? Is it a direct sales force, is it a distributor, is it a
partnership?
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Yeah, it'll be a mix. For Spain and Japan, we'll be leveraging a distributor. For the other countries, we'll be going
direct. Our businesses is a little bit different from kind of just a traditional med device company where you're
selling a device and can hand that over to a distributor really to drive selling. We're a device enabled service. So,
there is a bit of infrastructure and clinical operations buildout that needs to be done as well that we're doing for the
four countries that I mentioned. We have that in the UK today. And then we'll have our clinical operations team
supporting the Japan launch as well. So, a little bit more than just handing a device over to a distributor, but feel
good about the infrastructure we're building and continuing to drive international expansion.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
So, but a part of the device is specialty is that you do have a human that looks at the data and downloads it and it
creates a report. Are you able to do that regionally or is it self-funneled back maybe to somebody here in the
United States?
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Yeah, each country will be different.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
Okay.
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
And this comes back to kind of the data privacy rules that each country has and each country is a little bit
different. So, where we can leverage existing clinical operations, infrastructure, either the UK or US or other
geographies, we'll look to do that or build it out within a country. If we fast forward and on our roadmap beyond
the four countries Germany or France, that's likely going to require, staff in country. But those are later in our
roadmap.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
Okay. Is there anything that would slow the uptake of these products in the region once reimbursement – it
sounds like reimbursement is in place culturally or professionally or and I'm trying to figure out why you wouldn't
have a similar success on the transition to patch technology that you've...
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Yeah.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
...had in the United States?
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
I think it's a fair question, and I would argue, we have more clinical and economic evidence than we ever have,
right...
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
Right.
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
...versus where we started with in the US many years ago. So, from that standpoint and a brand recognition
standpoint. So, Zio is, despite only being really in the US today, it does have some global brand recognition given
all of the clinical trial work that we've done and clinical evidence that we've generated. So, from that standpoint, I
think we're starting in a really strong position. At the same time, changing behavior, changing standard of care,


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takes time. And nothing ever moves fast enough in healthcare from my standpoint. So, I think it's right to not going
to ahead of ourselves here. Ultimately, I think the opportunity is the same as what we've seen in the US in terms
of fully shifting the standard of care to Zio.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
Okay. Outside of these regions, do you have targets and if so, how do you approach them?
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
We do. We have enough kind of to go after the moment, right, with the four Western European countries as well
as Japan. We'd like to kind of get some experience there, make sure we're not spreading ourselves too thin. So,
we'll be focused on those countries for the near-term. There are others on the roadmap I mentioned Germany and
France, but those are a bit further out.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
And you've also been looking at other applications of the technology. I know we spoke briefly in the primary care
arena, but maybe using it for post-field ablation patients, either in identification or post-surgery structural heart, for
example. And I'll even throw sleep apnea into that group. I mean, how do you think about just pushing out the
potential applications of the Zio technology?
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Yeah, it's something we're really excited about and focused on. So, if you think about Zio today, we're really just
taking the ECG signal from the patient and then providing insights. The insights we're providing today are really
around arrhythmias, diagnosing and characterizing the arrhythmias. There's more we can do with just the ECG
signal. And we've had some initial data around sleep and in terms of classifying sleeping activity and then
ultimately overlaying where when arrhythmias are showing up, right. Is it in a state of sleep or in a state of activity,
which is important clinical insights for a clinician.

So, there is more and more insights we know we can deliver through ECG alone. Where it gets really exciting is
when we start to bring other vital signs monitoring onto the platform. And this goes back to the licensing
transaction we did with BioIntelliSense last quarter, where we will now start to build pulse ox, blood pressure,
respiratory rate, other vital signs onto the platform. And as you're capturing more and more patient data, it really
opens the aperture in terms of insights that you can deliver. And certainly from sleep standpoint, we believe we
can deliver a home sleep test with those vital signs. And so, that will be kind of the next platform build and really
excited about what that can mean for us.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
And is that something you do on your own or is that something you've done in partnership with others?
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A

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So, we did license that technology from BioIntelliSense. Now is kind of in the build phase and some of that will be
internal, some of that will be external. I think we're open to bringing the outside in terms of supporting those
efforts. We have high confidence in our R&D capabilities, but we know we can't do everything that we want to do.
So, I think there is an opportunity to leverage the outside to complement what we can do internally and really
drive some pretty exciting innovation.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
And what about in structural heart? And then pulsed field ablation, where do you see those Zio Patch fitting?
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Yeah, I think both opportunities we do get questions a lot on PFA today. I mean that is a very exciting opportunity
in the market. And I would say there is a, there's a buzz and excitement in electrophysiology that hasn't been
there for some time.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
Yeah.
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
And ultimately when the downstream therapies are improving like, like we're seeing with pulsed field ablation, it's
logical to think about the upstream diagnostics improving with it. So, we're seeing that it is a nice tailwind for, for
the business. Ultimately those patients need to be diagnosed and into the funnel for PFA procedures and then
ultimately, subsequently monitor post procedure as well. So, as that market grows, we expect to see benefits and
we are we are seeing benefits there as well.
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Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.                                                                                                                                                                                                                   Q
Excellent. So, when you and I are talking this time next year, what do you think we're going to be talking about?
Or maybe the better question is, what do you think, we're not going to be talking about?
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Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.                                                                                                                                                                                                        A
Yeah. I won't surprise anyone with this answer. Well, I hope we are talking about, successfully remediating the
quality management system that we're really transforming. And back to that comment earlier about building the
foundation and infrastructure to support that next major phase of growth for us. I hope that's what we're talking
about, that that foundation is built and all of the exciting growth opportunities are more and more real for us and
have great plans to get after them.
.....................................................................................................................................................................................................................................................................

Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.
Wonderful. Dan, thank you so much for joining us today.
.....................................................................................................................................................................................................................................................................




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iRhythm Technologies, Inc. (IRTC)                                                                                                                                                                           Corrected Transcript
Citi Global Healthcare Conference                                                                                                                                                                                                      04-Dec-2024

Daniel G. Wilson
Chief Financial Officer, iRhythm Technologies, Inc.
Thank you very much. Appreciate it.
.....................................................................................................................................................................................................................................................................

Joanne K. Wuensch
Analyst, Citigroup Global Markets, Inc.
Okay.




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                     Exhibit 13
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                                  Claim Chart for U.S. Patent No.12,161,473 (“the ’473 Patent”)

       The Accused Instrumentalities include, but are not necessarily limited to, the Next-Generation Zio Monitor by iRhythm (the
“Zio Monitor”). The Accused Instrumentalities infringe at least the claims of the ’473 Patent charted below either directly under 35
U.S.C. § 271(a), or indirectly under 35 U.S.C. §§ 271(b)–(c). The Accused Instrumentalities infringe such claims literally and/or under
the doctrine of equivalents.

              Claim 1                                               Accused Instrumentalities

 1[pre] A wearable             To the extent the preamble is deemed to be a limitation, the Accused Instrumentalities include a
 electrocardiography           wearable electrocardiography monitoring device in accordance with this claim. The Zio Monitor
 monitoring device,            satisfies 1[pre] because the Zio Monitor is a device that is worn on the patient’s body. In an example,
 comprising:                   the Zio Monitor monitors patient ECG signals.




                               (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



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              Claim 1                                           Accused Instrumentalities




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                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




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              Claim 1                                           Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




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              Claim 1                                      Accused Instrumentalities




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              Claim 1                                            Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/reporting)




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              Claim 1                                           Accused Instrumentalities

 1[a] a flexible backing     The Accused Instrumentalities include a flexible backing including a strip. The Zio Monitor
 including a strip           satisfies 1[a] because the Zio Monitor includes a flexible backing including a strip.
 comprising:




                              (https://www.irhythmtech.com/company/news/irhythm-technologies-continues-to-fuel-innovation-in-
                             cardiac-monitoring-and-unveils-two-fda-clearances-for-superior-patient-care)




                              (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                             (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                             monitor)

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              Claim 1                                           Accused Instrumentalities




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              Claim 1                                                 Accused Instrumentalities

 1[b] a first face and a         The Accused Instrumentalities include a first face and a second face, wherein a portion of the first
 second face, wherein a          face is covered in adhesive to adhere the strip to skin of a patient. The Zio Monitor satisfies 1[b]
 portion of the first face is    because the Zio Monitor includes an under side (i.e., a first face) and an upper side (i.e., a second
 covered in adhesive to          face). A portion of the under side is covered in adhesive to adhere the strip to skin of a patient.
 adhere the strip to skin of a
 patient,




                                 (Zio Monitor Teardown)




                                 (Zio Monitor Teardown)


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              Claim 1                                      Accused Instrumentalities




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              Claim 1                                       Accused Instrumentalities




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              Claim 1                                          Accused Instrumentalities




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                             (https://www.irhythmtech.com/company/news/irhythm-technologies-continues-to-fuel-innovation-in-
                             cardiac-monitoring-and-unveils-two-fda-clearances-for-superior-patient-care)

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              Claim 1                                         Accused Instrumentalities




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              Claim 1                                              Accused Instrumentalities

 1[c] a first end section,     The Accused Instrumentalities include a first end section, a second end section opposite the first
 a second end section          end section, and a mid-section between the first end section and the second end section. The Zio
 opposite the first end        Monitor satisfies 1[c] because the Zio Monitor includes a first end section that is opposite a second
 section, and                  end section. The Zio Monitor also includes a mid-section between the first end section and the second
 a mid-section between the     end section that is narrower than the first and second end sections as depicted below.
 first end section and the
 second end section,
 wherein the mid-section is
 narrower than the first end
 section and the second end
 section;




                               (https://go.irhythmtech.com/hubfs/LB10117.01%20-
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              Claim 1                                           Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




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              Claim 1                                               Accused Instrumentalities

 1[d] a flexible circuit      The Accused Instrumentalities include a flexible circuit mounted to the second face of the strip, the
 mounted to the second face   flexible circuit comprising a first circuit trace and a second circuit trace. The Zio Monitor satisfies
 of the strip, the flexible   1[d] because the Zio Monitor includes a flexible circuit comprising two circuit traces (i.e., a first
 circuit comprising a first   circuit trace and a second circuit trace). The flexible circuit is mounted to the upper side of the strip
 circuit trace and a second   (i.e., second face).
 circuit trace;




                              (https://go.irhythmtech.com/hubfs/LB10117.01%20-
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              Claim 1                                           Accused Instrumentalities




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                             (Zio Monitor Teardown)




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              Claim 1                                          Accused Instrumentalities




                             (https://patentimages.storage.googleapis.com/12/7b/34/ee9a6b3db2a824/US11399760.pdf)

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              Claim 1                                          Accused Instrumentalities




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              Claim 1                                          Accused Instrumentalities




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              Claim 1                                           Accused Instrumentalities




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              Claim 1                                            Accused Instrumentalities

 1[e] a first                The Accused Instrumentalities include a first electrocardiographic electrode and a second
 electrocardiographic        electrocardiographic electrode. The Zio Monitor satisfies 1[e] because the Zio Monitor includes two
 electrode and a second      elecrocardiographic electrodes labeled in the figure below as “1.”
 electrocardiographic
 electrode,




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              Claim 1                                               Accused Instrumentalities

 1[f] wherein the first        The Accused Instrumentalities include wherein the first electrocardiographic electrode and the
 electrocardiographic          second electrocardiographic electrode are configured to sense electrocardiographic signals. The
 electrode and the second      Zio Monitor satisfies 1[f] because the Zio Monitor includes two electrocardiographic electrodes that
 electrocardiographic          sense electrocardiographic signals.
 electrode are configured to
 sense electrocardiographic
 signals,




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              Claim 1                                       Accused Instrumentalities




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              Claim 1                                           Accused Instrumentalities




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              Claim 1                                         Accused Instrumentalities




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              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




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              Claim 1                                       Accused Instrumentalities




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              Claim 1                                       Accused Instrumentalities




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              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                             (MAX30003 Datasheet)



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              Claim 1                                         Accused Instrumentalities




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              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)

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              Claim 1                                       Accused Instrumentalities




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              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




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              Claim 1                                                Accused Instrumentalities

 1[g] wherein the first         The Accused Instrumentalities include wherein the first electrocardiographic electrode and the
 electrocardiographic           second electrocardiographic electrode are coupled to the flexible circuit. The Zio Monitor satisfies
 electrode and the second       1[g] because the Zio Monitor has electrocardiographic electrodes that are coupled to the flexible
 electrocardiographic           circuit.
 electrode are coupled to the
 flexible circuit,




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              Claim 1                                         Accused Instrumentalities




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              Claim 1                                         Accused Instrumentalities




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              Claim 1                                         Accused Instrumentalities




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              Claim 1                                         Accused Instrumentalities




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              Claim 1                                         Accused Instrumentalities




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              Claim 1                                                  Accused Instrumentalities

 1[h] wherein the first        The Accused Instrumentalities include wherein the first electrocardiographic electrode is
 electrocardiographic          conductively exposed at the first face along the first end section of the strip. The Zio Monitor
 electrode is conductively     satisfies 1[h] because the Zio Monitor includes an electrocardiographic electrode conductively
 exposed at the first face     exposed on the upper side (i.e., the first face) along one end (i.e., the first end section) of the strip.
 along the first end section
 of the strip,




                                                (https://go.irhythmtech.com/hubfs/LB10117.01%20-
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              Claim 1                                         Accused Instrumentalities




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                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



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              Claim 1                                           Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                             (https://vimeo.com/861741895?)




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              Claim 1                                         Accused Instrumentalities




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              Claim 1                                             Accused Instrumentalities

 1[i] wherein the second     The Accused Instrumentalities include wherein the second electrocardiographic electrode is
 electrocardiographic        conductively exposed at the first face along the second end section of the strip. The Zio Monitor
 electrode is conductively   satisfies 1[i] because the Zio Monitor includes an electrocardiographic electrode conductively exposed
 exposed at the first face   on the upper side (i.e., the first face) along one end (i.e., the second end section) of the strip.
 along the second end
 section of the strip,




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




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              Claim 1                                          Accused Instrumentalities




                             (https://vimeo.com/861741895?)




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              Claim 1                                                   Accused Instrumentalities

 1[j] wherein the first circuit   The Accused Instrumentalities include wherein the first circuit trace is electrically coupled to the
 trace is electrically coupled    first electrocardiographic electrode. The Zio Monitor satisfies 1[j] because the Zio Monitor includes
 to the first                     circuit traces, one of which is electrically coupled to one of the electrocardiographic electrodes (i.e.,
 electrocardiographic             the first electrocardiographic electrode).
 electrode,




                                  (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                                  %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




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                             (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                             monitor)


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              Claim 1                                                  Accused Instrumentalities

 1[k] wherein the second         The Accused Instrumentalities include wherein the second circuit trace is electrically coupled to the
 circuit trace is electrically   second electrocardiographic electrode. The Zio Monitor satisfies 1[k] because the Zio Monitor
 coupled to the second           includes circuit traces, one of which is coupled to one of the electrocardiographic electrodes (i.e., the
 electrocardiographic            second electrocardiographic electrode).
 electrode, and




                                 (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                                 %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




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              Claim 1                                         Accused Instrumentalities




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              Claim 1                                         Accused Instrumentalities




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              Claim 1                                         Accused Instrumentalities




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              Claim 1                                               Accused Instrumentalities

 1[l] wherein the first         The Accused Instrumentalities include wherein the first electrocardiographic electrode includes an
 electrocardiographic           inline resistor. The Zio Monitor satisfies 1[l] because the Zio Monitor includes an inline resistor
 electrode includes an inline   located on the flexible backing. Further, the inline resister is integrated into the ECG tracings.
 resistor;




                                (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                                %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




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              Claim 1                                           Accused Instrumentalities




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




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              Claim 1                                            Accused Instrumentalities

 1[m] a battery vertically   The Accused Instrumentalities include a battery vertically aligned with a sealed housing. The Zio
 aligned with a sealed       Monitor satisfies 1[m] because the Zio Monitor includes a battery. The battery powers the body worn
 housing,                    device. The battery is located in and vertically aligned with a sealed housing.




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)

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              Claim 1                                            Accused Instrumentalities

 1[n] wherein the sealed     The Accused Instrumentalities includes wherein the sealed housing includes rounded edges on a
 housing includes rounded    top surface. The Zio Monitor satisfies 1[n] because the Zio Monitor includes a sealed housing with
 edges on a top surface,     rounded edges on its top surface.




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)


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              Claim 1                                          Accused Instrumentalities




                             (https://www.globenewswire.com/news-release/2023/09/26/2749471/0/en/iRhythm-Launches-Next-
                             Generation-Zio-Monitor-and-Enhanced-Zio-Service-Its-Smallest-Lightest-and-Thinnest-Cardiac-
                             Monitor.html)




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              Claim 1                                           Accused Instrumentalities

 1[o] wherein the sealed     The Accused Instrumentalities include a sealed housing wherein the sealed housing is coupled to
 housing is coupled to the   the flexible backing. The Zio Monitor satisfies 1[o] because the Zio Monitor includes a sealed
 flexible backing, and       housing that is coupled to the flexible backing.




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)


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              Claim 1                                            Accused Instrumentalities

 1[p] wherein the sealed     The Accused Instrumentalities include a sealed housing wherein the sealed housing includes a
 housing includes a          processor. The Zio Monitor satisfies 1[p] because the Zio Monitor has a processer in its sealed
 processor,                  housing.




                             (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                             monitor)




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                             (MAX30003 Datasheet)




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              Claim 1                                               Accused Instrumentalities

 1[q] wherein the processor    The Accused Instrumentalities include a processor wherein the processor is electrically coupled to
 is electrically coupled to    the first electrocardiographic electrode, the second electrocardiographic electrode, and the battery.
 the first                     The Zio Monitor satisfies 1[q] because the Zio Monitor includes a processor that is electrically
 electrocardiographic          coupled to the electrodes and the battery.
 electrode, the second
 electrocardiographic
 electrode, and the battery,




                               (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                               %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




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                             (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                             monitor)

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              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                             (MAX30003 Datasheet)



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              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




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              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)

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              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




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              Claim 1                                       Accused Instrumentalities




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              Claim 1                                               Accused Instrumentalities

 1[r] wherein the processor     The Accused Instrumentalities include a processor wherein the processor is configured to process
 is configured to process the   the electrocardiographic signals sensed via the first electrocardiographic electrode and the second
 electrocardiographic           electrocardiographic electrode. The Zio Monitor satisfies 1[r] because the Zio Monitor processes
 signals sensed via the first   electrocardiographic signals sensed by its electrocardiographic electrodes.
 electrocardiographic
 electrode and the second
 electrocardiographic
 electrode; and




                                (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                                %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




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              Claim 1                                      Accused Instrumentalities




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              Claim 1                                           Accused Instrumentalities




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)



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              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)




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              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




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              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




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              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)

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              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)



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              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                             (MAX30003 Datasheet)



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              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




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              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)

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              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




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              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




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              Claim 1                                                Accused Instrumentalities

 1[s] a wireless transceiver,   The Accused Instrumentalities include a wireless transceiver. The Zio Monitor satisfies 1[s]
 wherein the wireless           because the Zio Monitor includes a wireless transceiver and a battery. The wireless transceiver draws
 transceiver draws power        power from the battery.
 from the battery.




                                (Zio Monitor Teardown)




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              Claim 1                                         Accused Instrumentalities




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              Claim 1                                       Accused Instrumentalities




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              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




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              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




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              Claim 2                                             Accused Instrumentalities

 2. The wearable             The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography         Claim 1, wherein the mid-section comprises a first edge parallel to a second edge. The Zio Monitor
 monitoring device of        satisfies Claim 2 because the Zio Monitor includes a mid-section that is narrower than each end
 Claim 1, wherein the mid-   section. See, e.g., 1[c]; see also 8[d]. The mid-section has two edges (i.e., a first edge and a second
 section comprises a first   edge) that are parallel to each other. See, e.g., 1[c]; see also 8[d].
 edge parallel to a second
 edge.




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              Claim 3                                              Accused Instrumentalities

 3. The wearable               The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography           Claim 1, wherein the wireless transceiver is configured to communicate with an external device via
 monitoring device of          Wi-Fi, mobile phone communication standards, or Bluetooth. The Zio Monitor satisfies Claim 3
 Claim 1, wherein the          because the Zio Monitor includes a wireless transceiver that communicates with an external device,
 wireless transceiver is       for example, via Bluetooth. See, e.g., 1[s].
 configured to communicate
 with an external device via
 Wi-Fi, mobile phone
 communication standards,
 or Bluetooth.




                               (Zio Monitor Teardown)




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              Claim 3                                         Accused Instrumentalities




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              Claim 3                                       Accused Instrumentalities




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              Claim 3                                       Accused Instrumentalities




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              Claim 3                                       Accused Instrumentalities




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              Claim 6                                                  Accused Instrumentalities

 6. The wearable                 The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography             Claim 1, wherein the adhesive covering the portion of the first face of the strip is provided on the
 monitoring device of            first end section and the second end section only. The Zio Monitor satisfies Claim 6 because the Zio
 Claim 1, wherein the            Monitor includes an under side (i.e., a first face) and an upper side (i.e., a second face). See 1[b]. The
 adhesive covering the           Zio Monitor includes two wing portions that are covered in adhesive to adhere the strip to skin of a
 portion of the first face of    patient. See id. Further, the mid-section portion of the Zio Monitor is not covered in adhesive. See
 the strip is provided on the    id.
 first end section and the
 second end section only.



              Claim 8                                                  Accused Instrumentalities

 8[pre] A wearable               To the extent the preamble is deemed to be a limitation, the Accused Instrumentalities include a
 electrocardiography             wearable electrocardiography monitoring device in accordance with this claim. The Zio Monitor
 monitoring device,              satisfies 8[pre] because the Zio Monitor is a device that is worn on the patient’s body. See 1[pre].
 comprising:
 8[a] a flexible backing         The Accused Instrumentalities include a flexible backing including a strip. The Zio Monitor
 including a strip               satisfies 8[a] because the Zio Monitor includes a flexible backing including a strip. See 1[a].
 comprising:
 8[b] a first face and a         The Accused Instrumentalities include a first face and a second face, wherein a portion of the first
 second face, wherein a          face is covered in adhesive to adhere the strip to skin of a patient. The Zio Monitor satisfies 8[b]
 portion of the first face is    because the Zio Monitor includes an under side (i.e., a first face) and an upper side (i.e., a second
 covered in adhesive to          face). See 1[b]; 6. The Zio Monitor includes two wing portions that are covered in adhesive to adhere
 adhere the strip to skin of a   the strip to skin of a patient. See 1[b]; 6.
 patient,
 8[c] a first end section, a     The Accused Instrumentalities include a first end section, a second end section opposite the first
 second end section              end section, and a mid-section between the first end section and the second end section. The Zio
 opposite the first end          Monitor satisfies 8[c] because the Zio Monitor includes a first end section that is opposite a second

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              Claim 8                                                Accused Instrumentalities

 section, and a mid-section     end section. See 1[c]. The Zio Monitor also includes a mid-section between the first end section and
 between the first end          the second end section. See id.
 section and the second end
 section;
 8[d] wherein the mid-          The Accused Instrumentalities include a mid-section wherein the mid-section is narrower than the
 section is narrower than the   first end section and the second end section, and wherein the mid-section comprises a first edge
 first end section and the      parallel to a second edge. The Zio Monitor satisfies 8[d] because the Zio Monitor includes a mid-
 second end section, and        section that is narrower than each end section. See 1[c]. The mid-section has two edges (i.e., a first
 wherein the mid-section        edge and a second edge) that are parallel to each other. See, e.g., id.
 comprises a first edge
 parallel to a second edge;




                                (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                                %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




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              Claim 8                                         Accused Instrumentalities




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              Claim 8                                                  Accused Instrumentalities

 8[e] a flexible circuit        The Accused Instrumentalities include a flexible circuit mounted to the second face of the strip, the
 mounted to the second face     flexible circuit comprising a first circuit trace and a second circuit trace. The Zio Monitor satisfies
 of the strip, the flexible     8[e] because the Zio Monitor includes a flexible circuit comprising two circuit traces (i.e., a first
 circuit comprising a first     circuit trace and a second circuit trace). See 1[d]. The flexible circuit is mounted to the upper side of
 circuit trace and a second     the strip (i.e., second face). See id.
 circuit trace;
 8[f] a first                   The Accused Instrumentalities include a first electrocardiographic electrode and a second
 electrocardiographic           electrocardiographic electrode. The Zio Monitor satisfies 8[f] because the Zio Monitor includes two
 electrode and a second         elecrocardiographic electrodes. See 1[e].
 electrocardiographic
 electrode,
 8[g] wherein the first         The Accused Instrumentalities include wherein the first electrocardiographic electrode and the
 electrocardiographic           second electrocardiographic electrode are configured to sense electrocardiographic signals. The
 electrode and the second       Zio Monitor satisfies 8[g] because the Zio Monitor includes two electrocardiographic electrodes that
 electrocardiographic           sense electrocardiographic signals. See 1[f].
 electrode are configured to
 sense electrocardiographic
 signals,
 8[h] wherein the first         The Accused Instrumentalities include wherein the first electrocardiographic electrode and the
 electrocardiographic           second electrocardiographic electrode are coupled to the flexible circuit. The Zio Monitor satisfies
 electrode and the second       8[h] because the Zio Monitor has electrocardiographic electrodes that are coupled to the flexible
 electrocardiographic           circuit. See 1[g].
 electrode are coupled to the
 flexible circuit,
 8[i] wherein the first         The Accused Instrumentalities include wherein the first electrocardiographic electrode is
 electrocardiographic           conductively exposed at the first face along the first end section of the strip. The Zio Monitor
 electrode is conductively      satisfies 8[i] because the Zio Monitor includes an electrocardiographic electrode conductively exposed
 exposed at the first face      on the upper side (i.e., the first face) along one end (i.e., the first end section) of the strip. See 1[h].



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              Claim 8                                                   Accused Instrumentalities

 along the first end section
 of the strip,
 8[j] wherein the second         The Accused Instrumentalities include wherein the second electrocardiographic electrode is
 electrocardiographic            conductively exposed at the first face along the second end section of the strip. The Zio Monitor
 electrode is conductively       satisfies 8[j] because the Zio Monitor includes an electrocardiographic electrode conductively exposed
 exposed at the first face       on the upper side (i.e., the first face) along one end (i.e., the second end section) of the strip. See 1[i].
 along the second end
 section of the strip,
 8[k] wherein the first          The Accused Instrumentalities include wherein the first circuit trace is electrically coupled to the
 circuit trace is electrically   first electrocardiographic electrode. The Zio Monitor satisfies 8[k] because the Zio Monitor includes
 coupled to the first            circuit traces, one of which is electrically coupled to one of the electrocardiographic electrodes (i.e.,
 electrocardiographic            the first electrocardiographic electrode). See 1[j].
 electrode, and
 8[l] wherein the second         The Accused Instrumentalities include wherein the second circuit trace is electrically coupled to the
 circuit trace is electrically   second electrocardiographic electrode. The Zio Monitor satisfies 8[l] because the Zio Monitor
 coupled to the second           includes circuit traces, one of which is coupled to one of the electrocardiographic electrodes (i.e., the
 electrocardiographic            second electrocardiographic electrode). See 1[k].
 electrode;
 8[m] wherein the first          The Accused Instrumentalities include wherein the first electrocardiographic electrode includes an
 electrocardiographic            inline resistor. The Zio Monitor satisfies 8[m] because the Zio Monitor includes an inline resistor
 electrode includes an inline    located on the flexible backing. Further, the inline resister is integrated into the ECG tracings. See
 resistor;                       1[l].
 8[n] a battery;                 The Accused Instrumentalities include a battery. The Zio Monitor satisfies 8[n] because the Zio
                                 Monitor includes a battery. See 1[m]. The battery powers the body worn device. See id.
 8[o] a wireless transceiver,    The Accused Instrumentalities include a wireless transceiver, wherein the wireless transceiver
 wherein the wireless            draws power from the battery. The Zio Monitor satisfies 8[o] because the Zio Monitor includes a
 transceiver draws power         wireless transceiver that draws power from the battery. See 1[s].
 from the battery; and


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              Claim 8                                                Accused Instrumentalities

 8[p] a sealed housing          The Accused Instrumentalities include a sealed housing having rounded edges on a top surface.
 having rounded edges on a      The Zio Monitor satisfies 8[p] because the Zio Monitor includes a sealed housing with rounded edges
 top surface,                   on its top surface. See 1[n].

 8[q] wherein the sealed        The Accused Instrumentalities include a sealed housing wherein the sealed housing is coupled to
 housing is coupled to the      the flexible backing. The Zio Monitor satisfies 8[q] because the Zio Monitor includes a sealed
 flexible backing, and          housing that is coupled to the flexible backing. See 1[o].
 8[r] wherein the sealed        The Accused Instrumentalities include a sealed housing wherein the sealed housing includes a
 housing includes a             processor. The Zio Monitor satisfies 8[r] because the Zio Monitor has a processer in its sealed
 processor,                     housing. See 1[p].
 8[s] wherein the processor     The Accused Instrumentalities include a processor wherein the processor is electrically coupled to
 is electrically coupled to     the first electrocardiographic electrode, the second electrocardiographic electrode, and the battery.
 the first                      The Zio Monitor satisfies 8[s] because the Zio Monitor includes a processor that is electrically
 electrocardiographic           coupled to the electrodes and the battery. See 1[q].
 electrode, the second
 electrocardiographic
 electrode, and the battery,
 8[t] wherein the processor     The Accused Instrumentalities include a processor wherein the processor is configured to process
 is configured to process the   the electrocardiographic signals sensed via the first electrocardiographic electrode and the second
 electrocardiographic           electrocardiographic electrode. The Zio Monitor satisfies 8[t] because the Zio Monitor processes
 signals sensed via the first   electrocardiographic signals sensed by its electrocardiographic electrodes. See 1[r].
 electrocardiographic
 electrode and the second
 electrocardiographic
 electrode.




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              Claim 10                                                 Accused Instrumentalities

 10. The wearable               The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography            Claim 8, wherein the wireless transceiver is configured to communicate with an external device via
 monitoring device of           Wi-Fi, mobile phone communication standards, or Bluetooth. The Zio Monitor satisfies Claim 10
 Claim 8, wherein the           because the Zio Monitor includes a wireless transceiver that communicates with an external device,
 wireless transceiver is        for example, via Bluetooth. See 1[s]; 3; 8[o].
 configured to communicate
 with an external device via
 Wi-Fi, mobile phone
 communication standards,
 or Bluetooth.


              Claim 13                                                 Accused Instrumentalities

 13. The wearable               The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography            Claim 8, wherein the adhesive covering the portion of the first face of the strip is provided on the
 monitoring device of           first end section and the second end section only. The Zio Monitor satisfies Claim 13 because the
 Claim 8, wherein the           Zio Monitor includes an under side (i.e., a first face) and an upper side (i.e., a second face). See 1[b];
 adhesive covering the          6; 8[b]. The Zio Monitor includes two wing portions that are covered in adhesive to adhere the strip
 portion of the first face of   to skin of a patient. See 1[b]; 6; 8[b]. Further, the mid-section portion of the Zio Monitor is not
 the strip is provided on the   covered in adhesive. See 1[b]; 6; 8[b].
 first end section and the
 second end section only.




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              Claim 15                                                 Accused Instrumentalities

 15[pre] A wearable              To the extent the preamble is deemed to be a limitation, the Accused Instrumentalities include a
 electrocardiography             wearable electrocardiography monitoring device in accordance with this claim. The Zio Monitor
 monitoring device,              satisfies 15[pre] because the Zio Monitor is a device that is worn on the patient’s body. See 1[pre]. In
 comprising:                     an example, the Zio Monitor monitors patient ECG signals. See id.

 15[a] a flexible backing        The Accused Instrumentalities include a flexible backing including a strip. The Zio Monitor
 including a strip               satisfies 15[a] because the Zio Monitor includes a flexible backing including a strip. See 1[a].
 comprising:
 15[b] a first face and a        The Accused Instrumentalities include a first face and a second face, wherein a portion of the first
 second face, wherein a          face is covered in adhesive to adhere the strip to skin of a patient. The Zio Monitor satisfies 15[b]
 portion of the first face is    because the Zio Monitor includes an under side (i.e., a first face) and an upper side (i.e., a second
 covered in adhesive to          face). See 1[b]. A portion of the under side is covered in adhesive to adhere the strip to skin of a
 adhere the strip to skin of a   patient. See id.
 patient,
 1[c] a first end section,       The Accused Instrumentalities include a first end section, a second end section opposite the first
 a second end section            end section, and a mid-section between the first end section and the second end section. The Zio
 opposite the first end          Monitor satisfies 15[c] because the Zio Monitor includes a first end section that is opposite a second
 section, and                    end section. See 1[c]. The Zio Monitor also includes a mid-section between the first end section and
 a mid-section between the       the second end section. See id.
 first end section and the
 second end section,
 wherein the mid-section is
 narrower than the first end
 section and the second end
 section, and
 15[d] wherein the mid-          The Accused Instrumentalities include a mid-section wherein the mid-section is narrower than the
 section comprises a first       first end section and the second end section, and wherein the mid-section comprises a first edge
 edge parallel to a second       parallel to a second edge. The Zio Monitor satisfies 15[d] because the Zio Monitor includes a mid-
 edge;


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              Claim 15                                                 Accused Instrumentalities

                                section that is narrower than each end section. See, e.g., 1[c]; see also 8[d]. The mid-section has two
                                edges (i.e., a first edge and a second edge) that are parallel to each other. See, e.g., 1[c]; see also 8[d].
 15[e] a flexible circuit       The Accused Instrumentalities include a flexible circuit mounted to the second face of the strip, the
 mounted to the second face     flexible circuit comprising a first circuit trace and a second circuit trace. The Zio Monitor satisfies
 of the strip, the flexible     15[e] because the Zio Monitor includes a flexible circuit comprising two circuit traces (i.e., a first
 circuit comprising a first     circuit trace and a second circuit trace). See 1[d]. The flexible circuit is mounted to the upper side of
 circuit trace and a second     the strip (i.e., second face). See id.
 circuit trace;
 15[f] a first                  The Accused Instrumentalities include a first electrocardiographic electrode and a second
 electrocardiographic           electrocardiographic electrode. The Zio Monitor satisfies 15[f] because the Zio Monitor includes
 electrode and a second         two elecrocardiographic electrodes. See 1[e].
 electrocardiographic
 electrode,
 15[g] wherein the first        The Accused Instrumentalities include wherein the first electrocardiographic electrode and the
 electrocardiographic           second electrocardiographic electrode are configured to sense electrocardiographic signals. The
 electrode and the second       Zio Monitor satisfies 15[g] because the Zio Monitor includes two electrocardiographic electrodes that
 electrocardiographic           sense electrocardiographic signals. See 1[f].
 electrode are configured to
 sense electrocardiographic
 signals,
 15[h] wherein the first        The Accused Instrumentalities include wherein the first electrocardiographic electrode and the
 electrocardiographic           second electrocardiographic electrode are coupled to the flexible circuit. The Zio Monitor satisfies
 electrode and the second       15[h] because the Zio Monitor has electrocardiographic electrodes that are coupled to the flexible
 electrocardiographic           circuit. See 1[g].
 electrode are coupled to the
 flexible circuit,
 15[i] wherein the first        The Accused Instrumentalities include wherein the first electrocardiographic electrode is
 electrocardiographic           conductively exposed at the first face along the first end section of the strip. The Zio Monitor
 electrode is conductively      satisfies 15[i] because the Zio Monitor includes an electrocardiographic electrode conductively

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              Claim 15                                                   Accused Instrumentalities

 exposed at the first face       exposed on the upper side (i.e., the first face) along one end (i.e., the first end section) of the strip.
 along the first end section     See 1[h].
 of the strip,
 15[j] wherein the second        The Accused Instrumentalities include wherein the second electrocardiographic electrode is
 electrocardiographic            conductively exposed at the first face along the second end section of the strip. The Zio Monitor
 electrode is conductively       satisfies 15[j] because the Zio Monitor includes an electrocardiographic electrode conductively
 exposed at the first face       exposed on the upper side (i.e., the first face) along one end (i.e., the second end section) of the strip.
 along the second end            See 1[i].
 section of the strip,
 15[k] wherein the first         The Accused Instrumentalities include wherein the first circuit trace is electrically coupled to the
 circuit trace is electrically   first electrocardiographic electrode. The Zio Monitor satisfies 15[k] because the Zio Monitor
 coupled to the first            includes circuit traces, one of which is electrically coupled to one of the electrocardiographic
 electrocardiographic            electrodes (i.e., the first electrocardiographic electrode). See 1[j].
 electrode,
 15[l] wherein the second        The Accused Instrumentalities include wherein the second circuit trace is electrically coupled to the
 circuit trace is electrically   second electrocardiographic electrode. The Zio Monitor satisfies 15[l] because the Zio Monitor
 coupled to the second           includes circuit traces, one of which is coupled to one of the electrocardiographic electrodes (i.e., the
 electrocardiographic            second electrocardiographic electrode). See 1[k].
 electrode, and
 15[m] wherein the first         The Accused Instrumentalities include wherein the first electrocardiographic electrode includes an
 electrocardiographic            inline resistor. The Zio Monitor satisfies 15[m] because the Zio Monitor includes an inline resistor
 electrode includes an inline    located on the flexible backing. See 1[l]. Further, the inline resister is integrated into the ECG
 resistor;                       tracings. See id.
 15[n] a battery vertically      The Accused Instrumentalities include a battery vertically aligned with a sealed housing. The Zio
 aligned with a sealed           Monitor satisfies 15[n] because the Zio Monitor includes a battery. See 1[m]. The battery powers the
 housing,                        body worn device. The battery is located in and vertically aligned with a sealed housing. See id.
 15[o] wherein the sealed        The Accused Instrumentalities includes wherein the sealed housing includes rounded edges on a
 housing includes rounded        top surface. The Zio Monitor satisfies 15[o] because the Zio Monitor includes a sealed housing with
 edges on a top surface,         rounded edges on its top surface. See 1[n].

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              Claim 15                                               Accused Instrumentalities

 15[p] wherein the sealed       The Accused Instrumentalities include a sealed housing wherein the sealed housing is coupled to
 housing is coupled to the      the flexible backing. The Zio Monitor satisfies 15[p] because the Zio Monitor includes a sealed
 flexible backing, and          housing that is coupled to the flexible backing. See 1[o].
 15[q] wherein the sealed       The Accused Instrumentalities include a sealed housing wherein the sealed housing includes a
 housing includes a             processor. The Zio Monitor satisfies 15[q] because the Zio Monitor has a processer in its sealed
 processor,                     housing. See 1[p].
 15[r] wherein the processor    The Accused Instrumentalities include a processor wherein the processor is electrically coupled to
 is electrically coupled to     the first electrocardiographic electrode, the second electrocardiographic electrode, and the battery.
 the first                      The Zio Monitor satisfies 15[r] because the Zio Monitor includes a processor that is electrically
 electrocardiographic           coupled to the electrodes and the battery. See 1[q].
 electrode, the second
 electrocardiographic
 electrode, and the battery,
 15[s] wherein the              The Accused Instrumentalities include a processor wherein the processor is configured to process
 processor is configured to     the electrocardiographic signals sensed via the first electrocardiographic electrode and the second
 process the                    electrocardiographic electrode. The Zio Monitor satisfies 15[s] because the Zio Monitor processes
 electrocardiographic           electrocardiographic signals sensed by its electrocardiographic electrodes. See 1[r].
 signals sensed via the first
 electrocardiographic
 electrode and the second
 electrocardiographic
 electrode; and
 15[t] a wireless transceiver, The Accused Instrumentalities include a wireless transceiver. The Zio Monitor satisfies 15[t]
 wherein the wireless          because the Zio Monitor includes a wireless transceiver and a battery. See 1[s]. The wireless
 transceiver draws power       transceiver draws power from the battery. See 1[s].
 from the battery.




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              Claim 16                                                 Accused Instrumentalities

 16. The wearable               The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 electrocardiography            Claim 15, wherein the wireless transceiver is configured to communicate with an external device
 monitoring device of           via Wi-Fi, mobile phone communication standards, or Bluetooth. The Zio Monitor satisfies Claim
 Claim 15, wherein the          16 because the Zio Monitor includes a wireless transceiver that communicates with an external device,
 wireless transceiver is        for example, via Bluetooth. See 1[s]; 15[t]. The wireless transceiver draws power from the battery.
 configured to communicate      See 1[s]; 15[t].
 with an external device via
 Wi-Fi, mobile phone
 communication standards,
 or Bluetooth.



              Claim 19                                                 Accused Instrumentalities

 19. The wearable               The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography            Claim 8, wherein the adhesive covering the portion of the first face of the strip is provided on the
 monitoring device of           first end section and the second end section only. The Zio Monitor satisfies Claim 19 because the
 Claim 15, wherein the          Zio Monitor includes an under side (i.e., a first face) and an upper side (i.e., a second face). See 1[b];
 adhesive covering the          6; 8[b]. The Zio Monitor includes two wing portions that are covered in adhesive to adhere the strip
 portion of the first face of   to skin of a patient. See 1[b]; 6; 8[b]. Further, the mid-section portion of the Zio Monitor is not
 the strip is provided on the   covered in adhesive. See 1[b]; 6; 8[b].
 first end section and the
 second end section only.




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